             EXHIBIT B




Case 1:18-cv-00580-NCT-JLW Document 1-2 Filed 06/29/18 Page 1 of 59
  STATE OF NORTH CAROLINA                                                                                                       evs
                    Guilford                      County                                                        In The General Court Of Justice
                                                                                                         D      District Ii] Superior Court Division
Name Of Plaintiff

  Jackie Braswell, et al.
Address

                                                                                                      CIVIL SUMMONS
City, State, Zip
                                                                                             0   ALIAS AND PLURIES SUMMONS

                                       VERSUS                                                                                            G.S. 1A-1, Rules 3, 4
Name Of Defendant(s)                                                           Date Original Summons Issued

  Colonial Pipeline Company, and Apex Companies, LLC                                                               05-25~2017
                                                                               Date(s) Subsequent Summons(es) Issued




  To Each Of The Defendant(s) Named Below:
Name And Address Of Defendant 1                                                Name And Address Of Defendant 2
 Colonial Pipeline Company                                                     Apex Companies, LLC
c/o Corporation Service Company                                                c/o Registered Agent Solutions, Inc.
2626 Glenwood A venue, Suite 550                                               176 Mine Lake Court, Suite 100
Raleigh                                                     NC 27608           Raleigh                                                NC        27615-6417

 A Civil Action Has Been Commenced Against You!

 You are notified to appear and answer the complaint of the plaintiff as follows:
  1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiffs attorney within thirty (30) days after
     you have been served. You may serve your answer by delivering a eopy to the plaintiff or by mailing it to the plaintiffs
     last known address, and

  2. File the original of the written answer with the Clerk of Superior Court of the county named above.

 If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.
Name And Address Of Plaintiff's Attorney (If None, Address Of Plaintiff)
Mona L. Wallace                                                                                                                            DAM       ..Q--PM
Wallace & Graham, P.A.
525 North Main Street
Salisbury                                                   NC 28144                                          Assistant   csc   0    Cieri< Of Superior Court




                                                                              Date Of Endorsement
  0    ENDORSEMENT                                                                                                                         DAM         0    PM
       This Summons was originally issued on the date
                                                                              Signature
       indicated above and returned not served. At the request
       of the plaintiff, the time within which this Summons must
       be served is extended sixty (60) days.                                       D   DeputyCSC     D   Assistant CSC          0   Cleric Of Superior Court




 NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is $15,000 or
                  less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for mandatory arbitration, and, if
                  so, what procedure is to be followed.

 AOC-CV-100, Rev. 10/01                                                    (Over)
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...
                                                                              RETURN OF SERVICE
          I certify that this Summons and a copy of the complaint were received and served as follows:
                                                                                    DEFENDANT 1
       Date Served                                  Time Served                                Name Of Defendant
                                                                       DAM        D    PM

          D   By delivering to the defendant named above a copy of the summons and complaint.

          D   By leaving. a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named
              above with a person of suitable age and discretion then residing therein.

          D   As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the
              person named below.
              Name And Address Of Person With Whom Copies Left (if corporation, give title of person copies left with)




          D   Other manner of service (specify)



          D   Defendant WAS NOT served forthe following reason:



                                                                                   DEFENDANT2
      Date Served                                  Time Served                                 Name Of Defendant
                                                                      DAM         DPM

          D   By delivering to the defendant named above a copy of the summons and complaint.

          D   By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named
              above with a person of suitable age and discretion then residing therein.

          D   As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the
              person named below.
              Name And Address Of Person With Whom Copies Left (if corporation, give title of person copies left with)




          0   Other manner of service (specify)



          0   Defendant WAS NOT served for the following reason.



      Service Fee Paid                                                                         Signature Of Deputy Sheriff Making Return
      $
      Date Received                                                                           Name Of Sheriff (Type Or Print)


       ate O Return                                                                            County Of Sheriff




       AOC-CV-100, Side Two, Rev. 10/01
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STATE OF NORTH CAROLINA

COUNTY OF GillLFORD

JACKIE BRASWELL, JUDY BRASWELL,                       )
HAROLD COLLINS, BONNIE COLLINS,                       )
Individually and as Executor of the Estate of         )
HOMER WADE YARBROUGH, HAYMON                          )
IDCKS, PENNY IDCKS, GINA MYERS                        )
SHAW, JAMES SLONE, DEBBIE SLONE,                      )
JERRY SMITH, KAREN SMITH, PAMELA                      )
LOVELESS, KA THY MILLER, JOEY                         )
SMITH and SHANIA SMITH,                               )
                                                      )
        Plaintiffs,                                   )
                                                      )
v.                                                    )
                                                      )
COLONIAL PIPELINE COMPANY, and                        )
APEX COMPANIES, LLC,                                  )
                                                      )
        Defend ants.                                  )
~~~~~~~~~~~~~~~~~                                     )
                                          COMPLAINT
                                      (Jury Trial Demanded)

        Plaintiffs, represented by undersigned counsel, complaining of the Defendants, allege and

say as follows:

     I. INTRODUCTION.

        1.        This action is brought by Plaintiffs, Jackie and Judy Braswell, Harold and Bonnie     ,

Collins, Haymon and Penny Hicks, James and Pamela Loveless, Jeffrey and Kathy Miller, Gina

Myers Shaw, James and Debbie Slone, Jerry and Karen Smith, Joey and Shaina Smith, and Bonnie

Collins as duly authorized Executor of the Estate of Homer Wade Yarbrough against the

Defendants, Colonial Pipeline Company ("CPC") and Apex Companies, LLC ("Apex") regarding

damage to real property, to the ability of North Carolina families to use and enjoy their properties,




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.,



     and for environmental hann caused by the recurrent release of petroleum and other hazardous

     contaminants into the environment.

             2.      The Plaintiffs are residents of Davidson County, North Carolina.        During the

     pertinent times, they have resided on and used land in proximity to CPC's Lexington Booster

     Station, which is located at 667 Helmstetler Road in Lexington, North Carolina. The Lexington

     Station facilitates the transport of various hazardous fuel products throughout the east coast.

     Booster pumping stations maintain pressure and flow rates. CPC, on information and belief,

     managed and oversaw a significant amount of the operations from its central office located in

     Alpharetta, Georgia. Apex was retained by CPC to perform site assessment work.

             3.     The Plaintiffs and their properties were directly exposed to and recurrently

     infiltrated by hazardous gases, chemicals, and industrial wastes, which caused damage to their

     properties and to the natural resources of the environment in and around the Plaintiffs' properties,

     causing Plaintiffs to incur loss of use and enjoyment of their property, loss of quality of life,

     significant contamination, and other harm and damages.

            4.      Defendants' conduct caused, inter alia, the release, spill, and discharge of

     hazardous chemicals and industrial wastes from the Booster Station. Defendants' negligent pattern

     and practice of releasing petroleum and other contaminants into the environment and its failure to

     properly remediate contamination has directly led to the contamination of well water and

     surrounding property.

            5.      Defendants continue to pump product throughout the line, and otherwise oversee,

     maintain and facilitate pipeline operations, at lucrative financial benefit, and yet Defendants have

     failed to take adequate steps to manage releases at the site. Defendants have failed to locate the

     precise locations of releases and thereby have failed to take appropriate steps to eliminate the



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egregious contamination and other causes of nuisance, trespass and contamination affecting

Plaintiffs. The Booster Station has impaired the Plaintiffs' use and enjoyment of their properties.

           6.       In addition, the presence of Defendants' ongoing releases has caused water-supply

wells to be compromised. Property owners are restricted from using active wells that had been

used previously for many years. Plaintiffs' inability to use their wells has interfered with Plaintiffs'

outdoor activities and reduced their property values.

           7.       Further, Defendants' business activities necessitate trucks traveling up and down

the streets outside of Plaintiffs' homes. Some of the streets surrounding Plaintiffs' homes are

narrow, unpaved roads which would not otherwise be subject to high truck traffic and disturbance.

Defendants' trucks travel by Plaintiffs' homes without prior notice causing noise and stirring dust.

Defendants' trucks are a source of annoyance and affect the use and enjoyment of the Plaintiffs'

property.

           8.       CPC is a large interstate pipeline company, delivering petroleum products, such as

gasoline, kerosene, diesel fuel, and jet fuel, with a network extending from Houston, Texas to

Linden, New Jersey. CPC crosses and/or has operations and infrastructure in thirteen (13) states,

spanning more than 5,500 miles, connecting twenty-nine (29) refineries located on the Gulf Coast

to two hundred and seventy (270) marketing terminals. CPC owns and operates the world's largest

refined liquid petroleum products pipeline.

       9.           Apex was previously retained by Colonial to assess and manage environmental

issues related to water and ground resources, business facilities, and air quality at the Booster

Station.        Among other things, during the pertinent times, CPC retained Apex to conduct a

Comprehensive Site Assessment ("CSA") of the Booster Station.




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        10.    Defendants named herein contributed to cause the below-described incidents and

injuries and are jointly and severally liable for the continuing damage and harm. As described

below, Plaintiffs allege claims both for damages and injunctive relief.

    II. PARTIES & JURISDICTION.

       A.     Plaintiffs.

       11.     Plaintiffs Jackie D. Braswell resides at 517 Helmstetler Road, Lexington, North

Carolina, Davidson County.

       12.     Plaintiffs Judy Braswell resides at 517 Helmstetler Road, Lexington, North

Carolina, Davidson County.

       13.     Plaintiffs Harold Collins resides at 401 Helmstetler Road, Lexington, North

Carolina, Davidson County.

       14.     Plaintiffs Bonnie Collins resides at 401 Helmstetler Road, Lexington, North

Carolina, Davidson County. Plaintiff Bonnie Collins brings this claim on her own behalf and as

the duly authorized Executor of the Estate of Homer Wade Yarbrough, who during some or all

pertinent times owned and/or resides at 247 Yarbrough Drive, Lexington, North Carolina,

Davidson County.

       15.     Plaintiffs Haymon Hicks resides at 206 Yarborough Drive, Lexington, North

Carolina, Davidson County.

       16.     Plaintiffs Penny Hicks resides at 206 Yarborough Drive, Lexington, North

Carolina, Davidson County.

       17.     Plaintiffs James Loveless resides at 286 Matthew Drive, Lexington, North

Carolina, in Davidson County.




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       18.    Plaintiffs Pamela Loveless resides at 286 Matthew Drive, Lexington, North

Carolina, in Davidson County and Pamela Loveless is also a joint property owner of 551

Helmstetler Road, Lexington, North Carolina, in Davidson County.

       19.    Plaintiffs Jeffrey Miller resides at 398 Matthew Drive and Kathy Miller is a joint

property owner of 551 Helmstetler Road, Lexington, North Carolina, in Davidson County.

       20.    Plaintiffs Kathy Miller resides at 398 Matthew Drive and Kathy Miller is a joint

property owner of 551 Helmstetler Road, Lexington, North Carolina, in Davidson County.

       21.    Plaintiffs Jerry Smith resides at 321 Matthew Drive and Karen Smith is a joint

property owner of 551 Helmstetler Road, Lexington, North Carolina, in Davidson County.

       22.    Plaintiffs Karen Smith resides at 321 Matthew Drive and Karen Smith is a joint

property owner of 551 Helmstetler Road, Lexington, North Carolina, in Davidson County.

       23.    Plaintiff Gina Myers Shaw is a resident of 2887 Yadkin College Road, Lexington,

North Carolina, Davidson County.

       24.    Plaintiffs James Slone resides at 247 Yarborough Drive, Lexington, North

Carolina, Davidson County.

       25.    Plaintiffs Debbie Slone resides at 247 Yarborough Drive, Lexington, North

Carolina, Davidson County.

       26.    Plaintiffs Joey Smith resides at 676 Helmstetler Road, Lexington, North Carolina,

Davidson County.

      27.     Plaintiffs Shania Smith resides at 676 Helmstetler Road, Lexington, North

Carolina, Davidson County.




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        B.    Defendants.

        28.    Upon information and belief, Defendant CPC is a corporation existing under the

laws of the State of Delaware, with a principal office located at 1185 Sanctuary Parkway, Suite

100, Alpharetta, Georgia 3009. It may be served by process at that address, or through its

registered agent, Corporation Service Company, located at Bank of America Center, 16th Floor,

1111 East Main Street, Richmond, Virginia. Defendant has a North Carolina facility address at

411 Gallimore Dairy Rd, Greensboro, which oversees a 300 acre tank farm on Gallimore Dairy

Road, which is the central North Carolina pipeline infrastructure that also includes the subject

Booster Station.   Significant quantities (barrels per day) of lucrative, environmentally-toxic

commercial gas product move along Defendant's network including Line 01 which begins in

Houston, Texas and terminates in Greensboro, North Carolina. A main line serving the Northeast

begins in Greensboro, North Carolina and serves the Philadelphia, New, Jersey and New York

markets.

       29.     Upon information and belief, Defendant Apex is a corporation existing under the

laws of the State of Delaware, with its principal office located at 15850 Crabbs Branch Way, Suite

200, Rockville, Maryland 20855-2610. It may be served by process at that address, or through its

registered agent, Registered Agent Solutions, Inc., located at 176 Mine Lake Court, Suite 100,

Raleigh, North Carolina 27615-6417. Apex is licensed to provide consulting and engineering

services in North Carolina.

    III. JURISDICTION AND VENUE.

       30.     This Court has subject matter jurisdiction.

       31.     The Court has personal jurisdiction over the parties.

       32.     Venue is proper in this County.



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    IV. FACTS.

        33.     Plaintiffs bring this lawsuit against Defendants as rural homeowners and property

owners who are but the latest victims of a pattern and practice of environmental contamination,

negligent and willful acts and omissions, failure to report releases, and failure to remediate affected

residential properties whom are directly affected by the acts and omissions of Defendants.

       A.     Background on Colonial Pipeline.

       34.     CPC was founded in 1961. Once founded, the company began construction of a

pipeline network, which began in 1962. The pipeline was expanded over time and today is a

system in the vicinity of 5,500-miles (8,850-km) long, extending from Houston, Texas to Linden,

New Jersey.

       35.     Today, CPC is the largest-volume pipeline transporter of refined petroleum

products in the world, moving millions of gallons of petroleum products each day through an

underground pipeline that stretches from Port Arthur, Texas, to Linden, N.J., passing through

Louisiana, Mississippi, Alabama, Georgia, Tennessee, South Carolina, North Carolina, Virginia,

District of Columbia, Maryland, and Pennsylvania.

       36.     Below is a diagram of the system from the company website:




                                                  7



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        37.    CPC's refined products pipeline system carries millions of barrels of gasoline,

diesel and jet fuel between the Gulf Coast and the New York Harbor area. As can be seen from

the map North Carolina is right in the middle of its pipeline network. The centrality of the

Greensboro location is evident from the manner in which the part of the pipeline that splits off east

toward the Raleigh area connects to the main body at Greensboro.

       38.     Colonial Pipeline Company's national headquarters location is m Alpharetta,

Georgia. It is a privately-held company. When it was originally founded in 1961, nine oil

companies shared ownership. Today, CPC is owned by the following five entities: 1) CDPQ

Colonial Partners, L.P.; 2) IFM (US) Colonial Pipeline 2, LLC; 3) KKR-Keats Pipeline Investors,

L.P.; 4) Koch Capital Investments Company, LLC; and 5) Shell Pipeline Company, LP. In short,

its owners include some of the largest corporations in the United States.




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              B.   Background on Booster Stations.

        39.        In recent years, CPC has represented to federal regulators and others that the use of

its pipeline by shippers, i.e., companies that ship oil on the pipeline, has increased due to expanded

production at Gulf Coast refineries.

        40.        For example, during the 2010 to 2014 time period, CPC stated that its system was

running at capacity, that its main lines were fully allocated and in fact, it even had to impose on its

shippers certain volume reductions.

        41.        To try to alleviate the problem, CPC sought to engage in various small-scale

expansions, but found that its ability to add capacity through incremental measures was

diminishing.

        42.        This overburdened system puts great strain on its constituent parts. One of those

parts consists of the booster stations.

        43.        As noted, the pipeline is thousands of miles long. As it carries the crude oil and

other petroleum products to destinations throughout the relevant states, the pumping or propulsive

force of the liquid in the lines diminishes. While the product begins its journey through the pipeline

with force, it loses forward momentum over distance.

       44.         To overcome this fact of physics and engineering, pumping stations or booster

stations are positioned throughout the length of the pipeline to adjust the pressure, keep the product

moving, and monitor flow and other information.

       45.         These stations increase the through-put of the pipeline. The locations of these

stations depends on factors such as where the network joins together or splits off into branches,

and where there are geographical features such as elevated hills.




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        46.     There are a number of different types of pumps that can be found in the pumping

stations. Pumping stations may also house booster pumps, which move product from the storage

tanks at the station into the main line. The purpose of a booster station is to increase the pressure

of oil or other product received through a main pipeline to transmit it to the next station or terminal.

These stations contain intricate equipment and without continuous investment of time and

resources, the equipment breaks down and leaks.

       47.      Furthermore, due to North Carolina's central location in the pipelineextension,

North Carolina booster stations are subjected to strenuous engineering demands to ensure product

momentum.

       48.      Where elements of a pipeline are shallowly covered by earth, or are exposed and

aboveground, there is a greater danger of system corrosion, breakdowns, leaks, spills, releases and

emissions. A booster station, by design, includes aboveground features and fixtures.

       49.     Unlike other parts of the pipeline, a booster station requires periodic adjustment

and manipulation of equipment and parts by workers. Booster and pumping stations have a greater

danger of incurring mechanical damage and operator error.

       C.     Background on CPC Lexington Facility.

       50.     The CPC facility at issue herein is its booster station located at 667 Helmstetler Rd,

Lexington, NC 27295. Below is an aerial view of the vicinity from Google Earth:




                                                  10



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       51.     The image below reflects the approximate locations of some, but not all of the

homes and properties of the Plaintiffs herein:




                                                 11



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        52.       As seen above, these properties are located close to the Booster Station.

        53.       The Booster Station facilitates the transport of petrolewn fuel products throughout

the east coast.

        54.       . The area surrounding the Booster Station is used mainly for residential and

agricultural purposes.

        55.       The Booster Station is positioned between the Kannapolis Station and the

Greensboro Junction Station and its main purpose is to adjust pressure, pwnp product along the

line, and monitor flow and other information about the transmittal of product.

        56.       Upon information and belief, CPC docwnents indicate the the Booster Station had

four prior releases dating back to 1989. However, to date, the Plaintiffs have not been able to

confirm that CPC prepared or transmitted any appropriate site reports. Accordingly, the precise

location of the releases remains unknown by Plaintiffs.

        57.       On April 10, 2013, a petrolewn release occurred at the Booster Station.

Approximately five hundred (500) gallons of hydraulic fluid was released to the soil in the

manifold area when an aboveground one-inch central hydraulic line failed.

       58.        Upon information and belief, when that spill occurred, CPC retained Apex to

engage in certain remedial and remediation efforts.

       59.        During the pertinent times, Apex uncovered evidence of one or more prior spills.

However, upon information and belief, no person or company was able to identify or locate any

site reports pertaining to historical releases of contaminants at the Booster Station.

       60.        Ultimately, in the aftermath of the 2013 spill, the Davidson County Fire Department

reported fluid spraying from the Booster Station to CPC. CPC was required to take action in




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response to the same. Among other things, CPC was required to submit a Comprehensive Site

Assessment to the North Carolina Department of Environmental Quality ("NCDEQ").

        61.    CPC retained the services of Apex to conduct a site assessment report. Excavation

activities were completed to remove the source area.       However, soils remained containing

constituents of concern ("COCs") above the North Carolina regulatory standards, known as the

"2L" and "2B" standards.

        62.    In addition, contaminants were measured which exceeded Soil-to-Groundwater

maximum soil contaminant concentrations ("MSCCs"), as well as Industrial Health Based

Standards. These COCs consisted of benzene, toluene, ethylbenzene, xylenes, and naphthalene.

Dichloromethane was also detected above Gross Contamination Levels ("GCL"). Fourteen out of

the twenty-one monitoring wells showed results that exceeded 2L and 2B standards. These

petroleum byproducts are hazardous chemicals that are carcinogenic and toxic.

       63.     A total of twenty-one soil samples were collected by Apex on April 24, 2013, which

were subsequently analyzed by Pace Analytical Services, Inc. ("Pace").

       64.     The total petroleum hydrocarbon diesel range organics ("TPH-DRO") in the

twenty-one soil samples ranged from 134 milligrams per kilogram (mg/kg) to 16,400 mg/kg. All

of these detections exceeded the NCDEQ action level of 10 mg/kg.

       65.     Additional samples were collected on May 22, 2013 at a new excavation site. Nine

soil samples exhibited TPH-DRO concentrations ranging from 27.6 mg/kg to 32,400 mg/kg. All

of these exceeded NCDEQ's permitted level of 10 mg/kg.

       66.     The highest levels were observed on the southern side of the manifold area. These

highly elevated concentrations in normal operations would not have been expected in this area and

at the depths encountered.



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        67.     The soil had an odor more consistent with a tar-like substance and testing revealed

high levels of contaminants in the surrounding soil.          Due to the relatively low migration

characteristics of hydraulic oils, it was determined that significant, unreported historical spills had

occurred at the Booster Station.

        68.     Alarmingly, Apex was unable to identify any site reports pertaining to these

historical releases at the Booster Station despite CPC's duty and obligation to monitor and

document events at its booster stations diligently and to report and notify regulatory agencies and

other stakeholders of issues of concern and contaminant releases.

        69.    Never during the pertinent times did CPC alert nearby Plaintiff property owners of

the releases of contaminants so as to allow them to take potential steps to safeguard their families,

homes, and personal property.

       70.     CPC's conduct was made more egregious by the presence of nine water supply

wells within 1,500 feet of the source of the release.

       71.     Below are "before and after" photos of the site. The top image dates back to 1993.

The bottom one is recent. As can be seen, as far back as 1993, there were already homes located

in the area. Indeed, there were homes located there dating back to even before the Booster Station

was ever built. During all the years of its operation, the Defendant has been well aware of the

nearby presence of families and owners of private property.




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                                15



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         72.        CPC has been dilatory, recalcitrant, and unreasonable in its handling of the

chemical spills located at the Booster Station and surrounding properties remain inadequately

remediated years after CPC negligently released 500 gallons of hazardous chemicals.

         73.        During the pertinent times, Defendants have failed to promptly and thoroughly

remediate Plaintiffs' properties, including but not limited to the fact that one or both of Defendants

have:

               a. Failed to take adequate measures to remediate the contaminated water and soil
                  affected by the historic spills;

               b. Failed to adequately inform Plaintiffs about the migrating contamination and failed
                  to accurately explain the significant amounts of contaminants found in the area;

               c. Failed to submit site reports to NCDEQ even though four previous releases were
                  identified to have occurred at the Facility, and the precise locations of the releases
                  remain unknown;

               d. Failed to submit a CSA Report addendum in accordance with 15A NCAC 2L
                  .0106(c) and (g) to the UST Section ofNCDEQ within 90 days of receipt of the
                  Notice of Regulatory Requirements dated August 23, 2013;

               e. Failed to take appropriate actions after having been sanctioned with a Notice of
                  Violation of 15A NCAC Subchapter 2L Correction Action regulations on January
                  31, 2018 by the NCDEQ;

               f.   Failed to submit a CSA Report addendum within fifteen (15) days after receiving
                    the Notice of Violation and advised the NCDEQ that a report would not be
                    submitted until February 14, 2018 due to failure to accumulate all necessary
                    sampling;

               g. Failed to submit the CSA Report addendum until February 15, 2018, which report
                  itself stated that soils still remained which contained COCs at concentrations
                  exceeding soil-to-groundwater MSCCs as well as Industrial Health Based
                  Standards;

               h. Failed to take action so that to this day soils containing COCs at concentrations
                  exceeding soil-to-groundwater MSCCs and industrial/commercial MSCC
                  concentrations would not remain on site;

               1.   Failing to undertake other appropriate remedial actions in light of the fact that
                    further excavation became not feasible due to the extent of contamination on the


                                                    16



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                   properties, and in light of the fact that COCs were also detected in other areas and
                   bedrock at concentrations exceeding the 2L and/or ten times the 2B standards; and

              J.   Failed to timely, properly, or adequately act in such other respects as the evidence
                   may show at trial.


        74.        To date, Defendants have failed to properly remediate the egregious and migrating

contamination surrounding. the Booster Station.

        75.        Five contaminants were detected in the surface water samples above laboratory

detection limits during a July 2017 sampling event.

        76.        Two contaminants were detected in the surface water samples above laboratory

detection limits during a December 2017 sampling event.                They were benzene and 1,2

dichloromethane.

        77.        A total of 15 COCs were detected in the water supply wells during a December

2017 sampling event and levels at that time exceeded the applicable 2L standards.

        78.        Upon information and belief, for reasons that are at this time not known, as of the

date of this filing Apex is no longer retained by CPC.

        79.        As of the date of this filing, upon information and belief, CPC still has not

determined where the releases are occurring along the pipeline and have failed to delineate the

contamination plume, despite the danger to families and their private property.

        D.         Additional background on the Plaintiffs.

        80.        During the pertinent times, the Plaintiffs have suffered, and continue to suffer

injury, as a direct result of the Booster Station's reported and unreported releases. CPC continues

to pump product through the pipeline. Releases continue to occur and contaminate surrounding

residential properties.




                                                   17


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         81.    Due to the Defendants' failure to identify and control the release sites, the product

pumped through the pipeline has recurrently released contaminants into the environment.

Defendants have refused to identify the release sites or to invest the resources necessary to mitigate

the releases, despite their financial capacity and ability to do so.

         82.    In addition, one or more Plaintiffs have previously notified CPC of a problem with

one of the units at the station, which caused loud and intrusive noise, while product was being

delivered to the Greensboro facility.

         83.    Defendants have withheld significant information regarding the contamination

found on Plaintiffs' properties and have not properly provided notice to all Plaintiffs of the quantity

and duration of releases and harms. Plaintiffs have suffered stress, anger, worry, loss of property

value, loss of use and enjoyment of their property, inability to comfortably engage in outdoor

activities, gardening, and lawn chores, amongst numerous other harms.

         84.   Plaintiffs have employed measures to protect their property from the

contamination, noise, disruption and nuisance the Booster Station causes. Some Plaitniffs have

abandoned water supply wells, repaired basements due to the damage caused to the foundation by

the shaking of the pipeline, and sought other means and methods to deal with numerous other

harms.

         85.   Plaintiffs Jackie and Judy Braswell own property located at 517 Helmstetler Road

in Lexington, North Carolina. Their property is directly south of the Booster Station and is directly

adjacent to 551 Helmstetler Road.

         86.   Their home on the property was connected to Davidson County water when the

county put water lines down in the area. However, the personal well on the property has always

been used to water a family garden located on the property. Mrs. Braswell is the daughter of Van



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D. Smith, who also used the well on this property to water the garden during his lifetime. Mrs.

Braswell has consumed produce from this garden since childhood. Mr. and Mrs. Braswell have

continued to use the garden during their ownership of the property. Mr. and Mrs. Braswell have

two children, Allen and Brian Braswell. Now, these Plaintiffs are concerned and cannot enjoy

their garden as before.

        87.    Mr. and Mrs. Braswell take pride in their home and are concerned and have suffered

a loss of use and enjoyment and property value as a direct and proximate result of the Defendants'

conduct, actions and inactions.

        88.    Plaintiffs Harold and Bonnie Collins reside at 401 Helmstetler Road. This property

is directly adjacent to Mr. and Mrs. Braswell's property and is south of the Booster Station.

        89.    They have longstanding roots in the community. Mrs. Collins visited and stayed

with her father at 24 7 Yarborough Drive until she was twelve years old. Mrs. Collins would visit

her father every other weekend from 1974-1978. Subsequently, in the late 1990's, Mr. and Mrs.

Collins also lived with Mr. Yarbrough for six months while their home was being built. The home

located on 24 7 Yarbrough Drive utilized well water until the mid to late 1990s. Mrs. Collins would

drink and use the well water located at her father's residence. Mr. and Mrs. Collins have one son,

Matthew Collins.

       90.     Mr. and Mrs. Collins take pride in their home and are concerned and have suffered

a loss of use and enjoyment and property value as a direct and proximate result of the Defendants'

conduct, actions and inactions.

       91.     Plaintiffs Haymon and Penny Hicks own property located at 206 Yarborough

Drive, Lexington, North Carolina. Based on data provided by the Defendants, this property has

existing environmental concerns, including but not limited to, deep groundwater contamination.



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        92.     Plaintiffs James and Pam Loveless own property located at 286 Matthew Drive,

Lexington, North Carolina. Mrs. Pam Loveless jointly owns 551 Helmstetler Road with her sisters

Kathy Miller and Karen Smith.

        93.     Sampling results from February 26, 2016, indicate that there are petroleum fuel-

related contaminants in the groundwater beneath the property located at 551 Helmstetler Road.

Sampling results exhibited benzene levels at 1600 ug/L when the permitted level is 1.0 ug/L.

Subsequently, sample results.from March 28, 2017 confirm that there are petroleum fuel-related

contaminants in the groundwater beneath 551 Helmstetler Road. These contaminants exceed the

North Carolina 2L Groundwater Quality Standards.

        94.     Plaintiffs Jeff and Kathy Miller own property located at 398 Matthew Drive,

Lexington, North Carolina. Mrs. Miller lived at 551 Helmstetler Road until she and Mr. Miller

got married in 1978.

        95.     Sampling results from February 26, 2016, indicate that there are petroleum fuel-

related contaminants in the groundwater beneath the property located at 5 51 Helmstetler Road.

Sampling results exhibited benzene levels at 1600 ug/L when the permitted level is 1.0 ug/L.

Subsequently, sample results from March 28, 2017 confirm that there are petroleum fuel-related

contaminants in the groundwater beneath 551 Helmstetler Road. These contaminants exceed the

North Carolina 2L Groundwater Quality Standards.

       96.     Plaintiffs Jerry and Karen Smith own property located on 321 Matthew Drive,

Lexington, North Carolina. Mr. and Mrs. Smith also own a separate parcel of land with three

separate addresses located on the parcel. The tract ofland with the trailer park on it is 3.80 acres.

Mr. and Mrs. Smith own 156 Matthew Drive, but the trailer and lot are currently rented to another

individual. Secondly, a separate individual, who recently passed away, owns the trailer located at



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 166 Matthew Drive while Mr. and Mrs. Smith own the lot. The son currently lives there and rents

the lot space from Mr. and Mrs. Smith. Lastly, Mr. Bobby Stacey rents the lot space found at 579

Helmstetler Road from Mr. and Mrs. Smith.       Mr. and Mrs. Smith have three children; Christy

Potter, Matt Smith, and Jennifer Moretz.

        97.    Like the other Plaintiffs herein, Mr. and Mrs. Smith have suffered injury as a result

of the Defendants' improper actions and inactions.

        98.    Mrs. Smith, Mrs. Miller, and Mrs. Loveless are the daughters of Matthew and Iris

"Jody" Smith. Mrs. Pam Loveless, Mrs. Kathy Miller and Mrs. Karen Smith jointly own 551

Helmstetler Road. The property was inherited from their mother upon her death in 2017. A family

garden is located on the property and the garden has been used for many, many years. The well's

primary purpose was to water the vegetables grown in the family garden. The family garden was

used every year since the women were born. Vegetables, such as tomatoes, Irish potatoes, com,

squash, onions, carrots, collards, and turnip greens, from the garden were shared with family and

friends. The well water was used to water the garden.

       99.     Sampling results from March 28, 2017 confirmed that there are petroleum fuel-

related compounds in the groundwater beneath 551 Helmstetler Road at concentrations exceeding

the North Carolina 2L Groundwater Quality Standards. These compounds were approximately 40

feet below the ground surface. Plaintiffs grew up using and drinking the well water and thereby

came into direct contact with the water. The sampling results showed benzene levels at 1,600 ug/L

whereas the permitted level is 1.0 ug/L.

       100.    Plaintiff Gina Myers Shaw resides at 2887 Yadkin College Road in Lexington,

North Carolina, however she currently owns undeveloped land directly across the street from the

Booster Station on Helmstetler Road, and has been directly affected by the ongoing releases. This



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property is inside the contamination plume. CPC has previously purchased the undeveloped

properties on each side of Ms. Shaw's property. On information and belief, CPC has purchased

one or more nearby properties due to the known contamination and danger.

           101.   Plaintiffs James and Debbie Slone own property located at 24 7 Yarborough Drive,

Lexington, North Carolina. Mr. and Mrs. Slone have two wells; one is active and the other well

was abandoned due to the underground contamination. The active well is currently used to water

their garden and to hydrate their animals.

           102.   Mr. and Mrs. Slone received a letter from Colonial on December 4, 2017 stating

that sampling results from their water supply well (identified as WSW-16B) indicated that there

were petroleum fuel-related compounds in the groundwater beneath their property at

concentrations exceeding the 2L Groundwater Drinking Water Quality Standards.                  The

groundwater containing these compounds was found approximately 22 feet below the ground

surface.

        103.      Plaintiffs Joey and Shania Smith live at 676 Helmstetler Road. Joey is the son of

Larry Van Smith, whom was the brother of Judy Braswell. Based on data provided by the

Defendants, this property has existing environmental concerns, including but not limited to,

shallow and deep water contamination, potential vapor intrusion concerns, and furthermore, the

pipeline crosses their property

       104.       Plaintiff Homer Wade Yarbrough during pertinent times lived at 247 Yarborough

Drive in Lexington, North Carolina. The home located on the property was built in 1974 and he

lived there until 1978. Mr. Yarbrough drank the well water, watered his garden with the well

water, and hydrated livestock with the well water.        Bonnie Collins is the daughter of Mr.

Yarbrough and the Executor of his estate.



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        E.      Pattern and practice of contaminant spills and emissions.

        105.    There have been nearly 200 known CPC contamination events and spills during the

period from 1968 through 1996 based on a review of records of the United States Department of

Transportation's Office of Pipeline Safety. These included a number of high-volume spills.

        106.   An additional number of unreported spills and incidents have also likely occurred,

including one or more on information and belief indicated by the company's internal corporate

records and electronic data.

        107.   On or about September 2, 1970, Jacksonville, Maryland residents detected gasoline

odors and traces of gasoline in a creek. CPC was notified and the leak point was found four days

later. The failure resulted in a release of an estimated 30,186 gallons (718 barrels) of gasoline and

kerosene.

       108.    On or about December 19, 1991, CPC's Line 2 pipeline ruptured in Simpsonville,

South Carolina pump station. More than 500,000 gallons (13,100 gallons) of diesel fuel was

released into Durbin Creek which environmentally damaged 26 miles of waterway. Clinton and

Whitmire were forced to use alternative water supplies.

       109.    On or about March 28, 1993, CPC' s pipeline ruptured creating a geyser that sprayed

diesel fuel more than 75 feet into the air. The diesel fuel coated overhead power lines, adjacent

trees, and flowed into storm water management ponds, and overland through a network of storm

sewer pipes entering the Sugarland Run Creek.

       110.    On or about October 1994, CPC's gasoline and diesel pipelines failed and ruptured

in the Houston area.




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        111.    On June 29, 1995, a release occurred at the Kannapolis Booster Station in

Mooresville, North Carolina. CPC reported it discovered a past release while conducting a site

assessment.

        112.    On or about June 26, 1996, CPC's pipeline ruptured near Fork Shoals, South

Carolina. The pipeline released about 957,600 US gallons (3,625,000 L) of fuel oil. The release

polluted a 34-mile stretch causing significant environmental damage. Floating oil also extended

the compounds about 23 miles downriver killing approximately 35,000 fish and other aquatic

wildlife. The estimated cost to cleanup and settlement with the State of South Carolina was $20.5

million dollars due to CPC's clear negligence, operator confusion and mismanagement of the

pipeline.

        113.   On or about April 23, 1996, CPC's pipeline ruptured and released approximately

33 barrels (1386 gallons) of gasoline into an unnamed creek near Blacksburg, South Carolina. The

release occurred as a result of a crack located at two overlapping dents on the pipe.

        114.   On or about May 17, 1996, CPC's pipeline released approximately 1.2 barrels (50

gallons) of gasoline in Greensboro, North Carolina.

        115.   On May 30, 1997, CPC released around 18,900 US gallons (72,000 L) of gasoline

into a creek and adjoining shoreline in Athens, Georgia. This spill resulted from CPC's own

calculation error and it did not have a procedure in place to confirm such calculations.

       116.    On or about December 2, 1997, a leak in the pipeline released more than 10,000

barrels (420,000 gallons) of gasoline in St. Helena Parish, Louisiana. The release caused extensive

soil and groundwater contamination and within two years a plume of gasoline extended over

fourteen (14) acres on the surface and more than sixty (60) acres total were contaminated.




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         117.   On or about February 1999, CPC released approximately 53,550 gallons (1275

barrels) of fuel oil. The release polluted around eight miles of the Tennessee River and the fuel

saturated ten (10) homes, causing evacuation of six homes. At the time of the release, CPC

received information about a reduction in pressure, which indicated a leak, CPC continued to send

fuel into the pipeline until the local Fire Department notified CPC that it was releasing into Goose

Creek.

         118.   On or about May 19, 2000, CPC's pipeline release kerosene giving rise to a sheen

about 40 feet by 40 feet in a pond in Greensboro, North Carolina.

         119.   On or about June 8, 2000, a 24-hour report documented a second release at the

Kannapolis Booster Station located in Mooresville, North Carolina. Approximately, five hundred

(500) gallons of gasoline was released from a crack in Y2-inch line. Approximately, four hundred

and eighty (480) gallons of free product was recovered.

         120.   On or about February 8, 2006, a hydraulic oil release was reported and an estimated

sixty-two (62) gallons of hydraulic oil was released from a relief valve. Nine tons of soil were

excavated.

         121.   On October 23, 2012, CPC released 500 gallons of gasoline in Chattanooga,

Tennessee.

         122.   On or about March 13, 2015, an above-ground gasket on the discharge valve of the

Kannapolis Booster Station failed resulting in the release of approximately nine hundred and

twenty (920) gallons of diesel to the ground surface. Approximately sixty hundred and twenty

(620) gallons of free product was recovered. Subsequently, during site remediation on August 13,

2015, a nipple was struck by a piece of equipment, and resulted in the release of approximately

five thousand (5,000) gallons of diesel fuel.



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        123.      On September 21, 2015, a release caused approximately 4,000 gallons of

hydrocarbon product to leak in Centreville, Virginia over the course of two weeks. Product was

removed from a retention pond and a townhome community.

        124.      On September 9, 2016, CPC released approximately 252,000 gallons of gasoline.

This release required CPC to have a partial shutdown of the pipeline and threatened the

southeastern United States with a fuel shortage. This release was said to be CPC's biggest spill in

two decades.

        125.      On October 31, 2016, CPC's pipeline exploded after the pipeline was damaged

during repairs.

        126.      On November 28, 2000, the United States filed a complaint against CPC for Clean

Water Act violations due to CPC' s gross negligence. CPC had seven spills in the late 1990' s, three

of which caused significant environmental damage and caused CPC to pay $34 million, which was

the largest civil penalty a company has paid in EPA history. See United States v. Colonial Pipeline

Co., Case No. 1:00-cv-03142-JTC (N.D. Ga.), Consent Decree filed June 16, 2003.

        127.      According the United States Department of Justice press release dated April 1,

2003, regarding the Consent Decree, one or more of the spills forming the basis of the penalty

occurred in North Carolina.

        128.      Under the terms of the Consent Decree, CPC was obligated among other things to

inspect its corrosion prevention system along the entire pipeline system every five years; repair

problems detected in the corrosion prevention system to meet the standards developed by the

National Association of Corrosion Engineers, and survey and inspect the pipeline where it crosses

water, and address areas of the pipeline that are exposed or insufficiently buried.




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          129.   Under that Consent Decree, CPC was obligated to amend its written "Integrity

Management Program," so as to "designate its entire Pipeline as pipeline segments that could affect

a High Consequence Area." Consent Decree,~ 8.

          130.   Pursuant to 49 C.F.R. §§ 195.450 and .452, high consequence areas are designated

to require special protection due to the dangers. For example, one example of a high consequence

area would be an area populated by homeowners and their families, such as in this matter.

          131.   Also under the Consent Decree, CPC was obligated to improve the diligence of its

inspections and surveys of pipeline fixtures as reflected by its Maintenance Manual. Consent

Decree,~    9.

          132.   In addition, under the Consent Decree, CPC promised that it would retain one or

more specialists experienced in pipeline repair and maintenance, including but not limited to,

assessment and repair of defects, close interval surveys and maintenance of protection systems,

and exposed and shallow pipe remediation, and have those consultants undertake diligent

inspections. Consent Decree, Section VII. However, CPC in none of its activities directly or

through consultants discovered or reported the evidence history of releases at the Booster Station,

nor took effective action to prevent the latest release.

          133.   Collectively four of CPC's prior releases permitted a total of 422,150 gallons of

gasoline or kerosene into the environment, for which CPC was penalized.

          134.   Historically, over the course of approximately 50 years, CPC has had additional

releases from its pipelines, which continues to damage and affect surrounding properties and

waters.

          135.   Most recently, on March 16, 2018, CPC agreed to a $3.3 million settlement with

Alabama to resolve claims related to gasoline pipeline ruptures and other releases in the state



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including in September and October 2026 inn Shelby County, after an investigation by the

Alabama attorney general's office and the Alabama Department of Environmental Management.

        136.    The types of gasolines and fuels transported by CPC are among the most toxic of

all petroleum products. Due to its toxicity, drinking water and personal well usage may be

impaired by spilled oil from contamination or cause restrictions in use. These oil spills into water

and surrounding residential properties can further harm the public by affecting their use and

enjoyment of their property.

        137.   Surrounding properties may require years to recover from environmental harm

caused by Colonial' s releases. Because of the extensive geographic coverage of CPC' s pipeline

system, the volume of products transported, and the proximity of the pipeline to innocent

residential property owners, these property owners are at an elevated risk from CPC's pipeline

releases. Furthermore, this pattern and practice of past incidents and contamination from CPC

facilities combine to put the company on notice of the dangers and reflect that Defendant's ongoing

conduct is reckless and willful.

                                FIRST CLAIM FOR RELIEF
          Violation of Oil Pollution and Hazardous Substances Control Act of 1978
                                       (Defendant CPC)

        138.   Plaintiffs re-allege and incorporate herein by reference the allegations contained in

preceding paragraphs as though same are fully set forth herein.

        139.   This claim is brought under the North Carolina Oil Pollution and Hazardous

Substances Control Act of 1978, N.C. Gen. Stat.§ 143-215.75, et seq. ("OPHSCA"). At all times

relevant hereto, CPC discharged or caused to be discharged one or more controlled oils or

hazardous substances into or upon the waters and lands, or the sewer, surface water drain, or other




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waters that drain into the waters of North Carolina, specifically, those waters and lands upon the

Plaintiffs' properties located within the State ofNorth Carolina.

        140.      At all times relevant hereto, CPC had control over the oil and hazardous substance

materials within the meaning of OPHSCA and were responsible for using, transferring, storing, or

transporting oils and hazardous substances immediately prior to a discharge of the substances

under N.C. Gen. Stat.§ 143-215.77(5).

        141.      Each of the hydrocarbon substances found in the samples taken by CPC which

spilled herein is an "oil" and/or a "hazardous substance" within the meaning ofOPHSCA; see N.C.

Gen. Stat.§ 143-215.77.

        142.      At all times relevant hereto, CPC discharged or caused to be discharged one or more

oils or hazardous substances. Each such discharge was in violation of N.C. Gen. Stat. § 143-

215.75, et seq.

        143.      At all times relevant hereto, CPC has failed to take reasonable actions to swiftly

and expeditiously clean up the oils and hazardous chemicals and substances that were discharged

including but not limited to onto the properties owned by one or more of the Plaintiffs.

       144.       The discharge of the hazardous substances was directly and proximately caused by

the negligence of CPC herein, and has resulted in damage to Plaintiffs' properties.

       145.       The contamination and harm to the property remains inadequately remediated by

CPC although it is five years after the April 2013 release of approximately five hundred (500)

gallons of hydraulic fluid, which also exposed evidence of one or more historic releases reflecting

contamination significantly beyond just the 500 gallons.

       146.       As a direct and proximate result of the aforesaid acts and omissions of CPC,

Plaintiffs have sustained damages in an amount in excess of $25,000.



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                                  SECOND CLAIM FOR RELIEF
                            Negligence and Willful and Reckless Conduct
                                    (Defendants CPC and Apex)

          14 7.   Plaintiffs incorporate herein by reference the allegations contained in preceding

paragraphs as though same are fully set forth herein.

          148.    During the pertinent times, Defendants had a duty to perform its activities on and

around CPC's property and the Plaintiffs' properties with due care.

          149.    Defendants violated their duty of due care by acting negligently, delinquently and

inadequately in connection with the relevant work activities to control and maintain the pipeline,

to prevent contamination, releases and spills, to make an adequate investment to prevent injurious

incidents from happening in this residential neighborhood as they have happened in numerous past

incidents at CPC sites, to warn and notify the Plaintiffs, and to remediate contamination directly

caused by releases from the pipeline and other pollution to Plaintiffs' properties and surrounding

areas.

          150.    On information and belief, during the pertinent times, CPC did not take all

necessary diligence with regard to the Booster Station to survey for potential problems and correct

existing ones, and failed to meet one or more standards promulgated by its written Integrity

Management Program, Maintenance Manual, Damage Prevention Program, or its Engineering

Standards.

          151.    CPC' s pattern and practice rising to the level of gross negligence and reckless and

willful conduct is evidenced by the historical incidents alleged above. CPC, though owned by

some of the largest and most profitable petrochemical corporations in the world, failed to invest in

appropriate measures despite being on notice of the danger as previously evidenced by incidents

such as in 1996 when nearly one million gallons of diesel fuel was spilled into Reedy River, South



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Carolina, polluting a 34-mile stretch of the river; in 1997, when 18,900 gallons of gasoline spilled

in Bear Creek, Georgia; and in 1999, when 53,550 gallons of fuel oil polluted eight miles of the

Tennessee River.

        152.    Defendant Apex is jointly and severally liable given its involvement in the facts

and circumstances herein and in light of its professed expertise in engineering, contamination and

remediation matters.

        153.    As a direct and proximate result of Defendants' aforementioned acts and omissions,

Plaintiffs have been harmed and have sustained damages in an amount to be determined at trial in

excess of $25,000.

                                  TIDRD CLAIM FOR RELIEF
                                           Trespass
                                       (Defendant CPC)

        154.    Plaintiffs incorporate herein by reference the allegations contained in preceding

paragraphs as though same are_ fully set forth herein.

        155.    At all times relevant hereto, Plaintiffs were the record owners of their property and

were in actual possession of those properties at the time that CPC trespassed or actionably caused

a trespass upon their lands.

        156.    Upon information and belief, CPC made or contributed to the making of an

intentional and unauthorized, and therefore unlawful, entry upon the land, including but not limited

to, by way of the CPC's pipeline releasing and discharging in excess of five hundred (500) gallons

of hydraulic fluid onto the Plaintiffs' properties.

        157.    Plaintiffs were and continue to be damaged by CPC's invasion of their right of

possession in their land. Most, if not all, Plaintiffs have lived, grown up, or still own properties

which have been in their family for decades.



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        158.    As a direct and proximate result of CPC's acts and omissions, Plaintiffs have been

harmed and have sustained substantial damages for trespass in an amount to be determined at trial

in excess of $25,000.

                                FOURTH CLAIM FOR RELIEF
                                  Private Recurrent Nuisance
                                       (Defendant CPC)

        159.   Plaintiffs incorporate herein by reference the allegations contained in preceding

paragraphs as though same are fully set forth herein.

        160.   Plaintiffs, and each of them, are, or during some or all of the pertinent times were,

in lawful possession of their properties, and used them, or had the right to use them, as residences

or for other legitimate uses.

        161.   CPC, during the pertinent times, owned and materially controlled the Booster

Station that is in close proximity to Plaintiffs' properties causing a private nuisance.

        162.   CPC had a duty to control and assess the continued contamination plume that is in

close proximity to the Plaintiffs' properties causing a private nuisance.

       163.    Plaintiffs' right to use and enjoy their properties have been impaired by the acts and

omissions of Defendant; the unannounced entry and intrusion onto their properties, and other

sources of nuisance.

       164.    The nuisance and evidence of historical releases have substantially and

unreasonably interfered with Plaintiffs' use and enjoyment of their properties, and have caused

anger, discomfort, annoyance, inconvenience, decreased quality oflife, deprivation of opportunity

to continue to develop properties, and injury to and diminished value of properties through

excessive contamination of their land.




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        165.    Defendant has engaged in improper or negligent operation of the Booster Station

during some or all of the pertinent times, causing harm to the Plaintiffs.

        166.    Defendant's conduct has been unreasonable.         Reasonable persons, generally

assessing Defendant's conduct, the interests of the community, the character of the neighborhood,

the nature, utility, and social value of the use of the land, and the extent, nature, and recurrent

nature of the harm to Plaintiffs' interests, would consider Defendants' conduct to be unreasonable.

        167.    As a direct and proximate result of the Defendant's creation and maintenance of an

unlawful nuisance, Plaintiffs have been damaged in an amount to be determined at trial in excess

of$25,000.

                                  FIFTH CLAIM FOR RELIEF
                            Strict Liability - Ultrahazardous Activity
                                         (Defendant CPC)

        168.    Plaintiffs incorporate herein by reference the allegations contained in preceding

paragraphs as though same fully set forth herein.

        169.    CPC engaged in abnormally dangerous activity by releasing hazardous

hydrocarbon contaminants into the ground.

        170.   Because of these activities, CPC caused toxic and hazardous petroleum-related

contaminants to be released into the surrounding community in violation of regulations and

standards, including by the petroleum release dating from April 2013 and by releases evidenced

by unreported historical releases at the same facility.

        171.   These abnormally dangerous activities necessarily involve serious risk of harm to

the person, land or chattels of another, and cannot be eliminated by the exercise of due care, nor

are they a matter of common usage.




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         172.    CPC's activities were and are egregious and inappropriate in light of the nearby

residential community, and any benefit to CPC by not investing in appropriate safeguards and

corrective measures is outweighed by its dangerous history of unreported and non-remediated

releases, here and elsewhere.

        173.    As a direct and proximate cause of CPC's abnormally dangerous activities,

Plaintiffs have been exposed to significant levels of hazardous and toxic contaminants, and/or,

have suffered or face the threat of suffering diminution in the values of their properties and have

experienced lass of use and enjoyment of property and other economic loss. These harms are

recurrent and ongoing.

        174.    Plaintiffs are entitled to compensatory damages in an amount to be determined by

a jury in the trial of this action, in excess of $25,000.

                                   SIXTH CLAIM FOR RELIEF
                                       Punitive Damages
                                        (Defendant CPC)

        17 5.   Plaintiffs incorporate herein by reference the allegations contained in preceding

paragraphs as though same are fully set forth herein.

        176.    CPC's above-described recurring conduct, acts, omissions, negligence, and

impropriety included aggravating factors giving rise to a claim of punitive damages under Chapter

ID of the North Carolina General Statutes.

        177.    Pursuantto N.C. Gen. Stat.§ ID-IS(a), CPC is properly liable for punitive damages

in this action in that CPC is liable for compensatory damages and has committed one or more

aggravating acts or omissions justifying an award for punitive damages, including without

limitation, recurring acts of egregious and reckless behavior, and specific instances of willful and

wanton conduct.



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..   ..
             178.     The recurring conduct, acts, omissions, negligence, and impropriety of CPC were

     willful, wanton, malicious, and in reckless disregard for the rights and interests of the Plaintiffs

     and justify an award of punitive damages. Accordingly, Plaintiffs demand judgment against CPC

     for punitive damages in an amount to be determined at trial.

             179.     During the pertinent times, Defendants had actual knowledge of the dangers to

     individuals similarly situated to all Plaintiffs surrounding the Booster Station located in Davidson

     County. CPC was on notice of the dangers due to a lengthy series of past incidents on its pipeline

     network, yet willfully failed to invest the necessary resources to end the recurrent events, which

     have now injured the Plaintiffs.

             180.     CPC deliberately, intentionally and purposefully continued to operate the pipeline

     that carried hazardous oil or other hazardous substances in violation of North Carolina statutes.

     CPC' s willful and wanton and reckless conduct has been evidenced by acts upon information and

     belief including but not limited to:

            (a)     Failing to take appropriate steps to check for and prevent emissions at the Booster
                    Station despite decades of numerous similar events along its pipeline;

            (b)     Failing to remediate and monitor pipeline releases including but not limited to at the
                    aboveground one-inch central hydraulic line;

            (b)     Failing to provide property owners with proper notice of historic spills and
                    significant contamination in the soil and groundwater;

            (c)     Failing to properly detect releases and to properly report all incidents to the NCDEQ;

            (d)     Callously and deliberately engaging in delayed, inadequate and woefully insufficient
                    efforts to correct the harm to the Plaintiffs' homesteads;

            (e)     Callously and intentionally refusing to cooperate in taking steps to protect the
                    Plaintiffs' and alleviate the harm such as timely and adequately providing notice of
                    contamination and its affects it has on their properties; and

            (t)     Such other aggravating factors as will be proven at trial.



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.   ...   ..
                       181.   The foregoing deliberate, intentional and purposeful acts of CPC constitutes willful

           and wanton disregard for the community water supply and a reckless indifference for the laws of

          North Carolina and are a direct and proximate cause of the damages suffered by Plaintiffs and thus,

          Plaintiffs are entitled to punitive damages.

                      182.    Pursuant to N.C. Gen. Stat. § lD-1 et seq., CPC has engaged in one or more

          aggravating factors and are accordingly liable for punitive damages in an amount to be determined

          at trial.

                                              SEVENTH CLAIM FOR RELIEF
                                              Declaratory and Injunctive Relief

                      183.    Plaintiffs incorporate herein by reference the allegations contained in preceding

          paragraphs as though same are fully set forth herein.

                      184.    In addition to and in the alternative to all other claims, the Plaintiffs also requests

          that the Court use its equitable and injunctive authority to enter injunctive relief in the favor of the

          Plaintiffs, including but not limited to issuance of an injunction requiring Colonial Pipeline to end

          any further contamination-producing activities, determine the exact release locations, repair and

          replace damaged pipeline to prevent further releases, and take forceful and affirmative steps to

          remedy the currently existing environmental contamination still affecting the Plaintiffs and

          endangering their families and the value of their chief asset, i.e. their private property.

                                                        JURY DEMAND

                      Plaintiffs hereby respectfully requests a trial by jury of all issues and claims so triable.

                                                    PRAYER FOR RELIEF

                      WHEREFORE, the Plaintiffs pray for the Court to enter judgment against the Defendants

          jointly and severally and to award relief including:




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•   •




               1.    That the Plaintiffs recover from Defendants monetary damages in a sum in excess of
                     Twenty-Five Thousand Dollars ($25,000.00) to be determined at trial;

               2.    That the Plaintiffs recover from Defendant Colonial Pipeline punitive damages in an
                     amount to be determined at trial;

               3.   That the Plaintiffs receive declaratory and injunctive relief as deemed appropriate by
                    the Court;

               4.   That the cost of this action be taxed against Defendants, including pre-judgment
                    interest pursuant to N.C. Gen. Stat. § 24-5, post-judgment interest and any other
                    costs, expenses or attorney's fees allowable by law;

               5.   For trial by jury as to all issues so triable; and

               6.   For such other and further relief as the Court may deem just and proper.




        Dated: This the   J.~day   of May, 2018.



                                                      Respectfully submitted,




                                                     Mona Lisa Wal ace
                                                     N.C. State Bar No. 9021
                                                     Kayleigh Lynn Messersmith
                                                     N.C. State Bar No. 51873
                                                     WALLACE AND GRAHAM, P.A.
                                                     525 North Main Street
                                                     Salisbury, NC 28144
                                                     Phone:704-633-5244
                                                     Fax: 704-633-9434
                                                     mwallace@wallacegraham.com
                                                     kmessersmith@wallacegraham.com
                                                     Attorneys for Plaintiffs




                                                        37


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                    1111 11        ~ 111


                                 525 NORTH MAIN STREET
                             SAUSBURY, NORTH CAROLINA 28144




                         Colonial Pipeline Company
                         c/o Corporation Service Company
                         2626 Glenwood Avenue, Suite 550
                         Raleigh, NC 27608




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                                                                                                                 Fife No.
    STATE OF NORTH CAROLINA                                                                                                                 18 CVS 5537
                                                                                                                        In The General Court Of Justice
    _ _ _ _ _G_u_i_lfi_or_d_ _ _ _ _ County                                                                       0     District      181
                                                                                                                                   Superior Court Division

                                                                                       Additional Fife Numbers
Jackie Braswell, et al.


                                     VERSUS
Colonial Pipeline Company and Apex Companies, LLC                                                                        SUBPOENA
                                                                                                                        G.S. 1A-1, Rule 45; 8-59, -61, -63; 15A-801, -802
Party Requesting Subpoena               NOTE TO PARTIES NOT REPRESENTED BY COUNSEL: Subpoenas may be produced at your request, but must be
 [8] State/Plaintiff     DDefendant     signed and issued by the office of the Clerk of Superior Court, or by a magistrate or judge.
TO    Name And Address Of Person Subpoenaed                                            Alternate Address
      Apex Companies, LLC
      c/o Registered Agent Solutions, Inc.
      176 Mine Lake Court, Suite 100
      Raleigh                                                     NC 27615-6417
      Telephone No.                                                                    Telephone No.


 YOU ARE COMMANDED TO: (check all that apply)
 0 appear and testify, in the above entitled action, before the court at the place, date and time indicated below.
 0 appear and testify, in the above entitled action, at a deposition at the place, date and time indicated below.
 181 produce and permit inspection and copying of the following items, at the place, date and time indicated below.
      [8] See attached list. (List here if space    sufficient)
          See attached Exhibit A




Name And Location Of Court/Place Of Deposition/Place To Produce                        Date To Appear/Produce, Until Released
Kayleigb L. Messersmith                                                                                    6/29/2018
Wallace & Graham, P .A                                                                 Time To Appear/Produce, Until Released
525 N. Main Street                                                                                                     10:00
Salisbury                                                         NC      28144        Date
Name And Address Of Applicant Or Applicanfs Attorney
Kayliegh L. Messersmith                                                                Signature~
Wallace & Graham, P.A.
525 N. Main Street                                                                          OoeputyCSC              0    Assistant CSC          0 Clerk Of Superior Court
Salisb                                                            NC      28144
Telephone No. Of Applicant Or Applicanfs Attorney
                                                                                            D Magistrate            [8] Attorney/DA             D District Court Judge
                                 704-633-5244                                                                                                   0 Superior Court Judge
                                                                       RETURN OF SERVICE
 I certify this subpoena was received and served on the person subpoenaed as follows:
 By      0   personal delivery.                               0
                                                     registered or certified mail, receipt requested and attached.
         0  telephone communication by Sheriff (use only for a witness subpoenaed to appear and testify).
         0  telephone communication by local law enforcement agency (use only for a witness subpoenaed to appear and testify in a criminal case).
             NOTE TO COURT: If the witness was seNed by telephone communication from a local law enforcement agency in a criminal case, the
              court may not issue   a show cause order or order for arrest against the witness until the witness has been served personally with the written
              subpoena.
         0    I was unable to serve this subpoena. Reason unable to serve:
Setvice Fee     D Paid   Date Served            Name Of Authorized Server (type or print)         Signature Of Authorized Server                     Title/Agency
$               Ooue
 NOTE TO PERSON REQUESTING SUBPOENA: A copy of this subpoena must be delivered, mailed or taxed to the attomey·foreach party in this case.
 If a party is not represented by an attorney, the copy must be mailed or delivered to the party. This does not apply in criminal cases.
    AOC-G-100, Rev. 2/18                                                 (Please see reverse side)
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NOTE: Rule 45, North Carolina Rules of Civil Procedure, Subsections (c) and (d).
{c) Protection of Persons Subject to Subpoena
(1)Avoid undue burden or exoense. -A party or an attorney responsible for the                 (6) Order to oompel· expenses to comply with subpoena. - VI/hen a court enters an
   issuance and service of a subpoena shall take reasonable steps to avoid imposing               order compelling a deposition or the production of records, books, papers,
   an undue burden or expense on a person subject to the subpoena. The court shall                documents, electronically stored information, or other tangible things, the order
   enforce this subdivision and impose upon the party or attorney in violation of this            shall protect any person who is not a party or an agent of a party from significant
   requirement an appropriate sanction that may include compensating the person                   expense resulting from complying with the subpoena. The court may order that the
   unduly burdened for lost earnings and for reasonable attorney's fees.                          person to whom the subpoena is addressed will be reasonably compensated for
                                                                                                  the cost of producing the records, books, papers, documents, electronically stored
(2) For production of public records or hospjtal medical records. - Where the subpoena            information, or tangible things specified in the subpoena.
    commands any custodian of public records or any custodian of hospital medical
    records, as defined in G.S. B-44.1, to appear for the sole purpose of producing           (7) Trade secrets· confidential information. - When a subpoena requires disclosure of a
    certain records in the custodian's custody, the custodian subpoenaed may, in                  trade secret or other confidential research, development, or commercial information,
    lieu of personal appearance, tender to the court in which the action is pending by            a court may, to protect a person subject to or affected by the subpoena, quash or
    registered or certified mail or by personal delivery, on or before the time specified         modify the subpoena, or when the party on whose behalf the subpoena is issued
    in the subpoena, certified copies of the records requested together with a copy of            shows a substantial need for the testimony or material that cannot otherwise be met
    the subpoena and an affidavit by the custodian testifying that the copies are true            without undue hardship, the court may order a person to make an appearance or
    and correct copies and that the records were made and kept in the regular course              produce the materials only on specified conditions stated in the order.
    of business, or if no such records are in the custodian's custody, an affidavit to that
    effect. When the copies of records are personally delivered under this subdivision,       (8) Order to quash· expenses. - When a court enters an order quashing or modifying
    a receipt shall be obtained from the person receiving the records. Any original or            the subpoena, the court may order the party on whose behalf the subpoena is
    certified copy of records or an affidavit delivered according to the provisions of this       issued to pay all or part of the subpoenaed person's reasonable expenses
    subdivision, unless otherWise objectionable, shall be admissible in any action or             including attorney's fees.
    proceeding wlthout further certification or authentication. Copies of hospital medical
    records tendered under this subdivision shall not be open to inspection or copied by      (d) Duties in Responding to Subpoena
    any person, except to the parties to the case or proceedings and their attorneys in
    depositions, until ordered published by the judge at the time of the hearing or trial.    (1) Form of response. - A person responding to a subpoena to produce records,
    Nothing contained herein shall be construed to waive the physician-patient privilege          books, documents, electronically stored information, or tangible things shall
    or to require any privileged communication under law to be disclosed.                         produce them as they are kept in the usual course of business or shall organize
                                                                                                  and label them to correspond with the categories in the request.
(3) Written objection to subpoenas. - Subject to subsection (d) of this rule, a person
    commanded to appear at a deposition or to produce and permit the inspection and           (2) Form of producing electronically stored information not specified. - If a subpoena
    copying of records, books, papers, documents, electronically stored information,              does not specify a form for producing electronically stored information, the person
    or tangible things may, within 10 days after service of the subpoena or before the            responding must produce it in a form or forms in which it ordinarily is maintained or
    lime specified for compllance if the time is less than 1O days after service, serve           in a reasonably useable form or forms.
    upon the party or the attorney designated in the subpoena written objection to the
                                                                                              (3) Etectmnically stored information in only one form. - The person responding need
    subpoena, setting forth the specific grounds for the objection. The written objection
                                                                                                  not produce the same electronically stored information in more than one form.
    shall comply with the requirements of Rule 11. Each of the following grounds may
    be sufficient for objecting to a subpoena:                                                (4) lnaccessjb!e electronically stored information. - The person responding need
         a. The subpoena fails to allow reasonable time for compliance.                           not provide discovery of electronically stored information from sources that the
         b. The subpoena requires disclosure of privileged or other protected matter              person identifies as not reasonably accessible because of undue burden or cost
            and no exception or waiver applies to the privilege or protection.                    On motion to compel discovery or for a protective order, the person responding
         c. The subpoena subjects a person to an undue burden or expense.                         must show thatthe information is not reasonably accessible because of undue
         d. The subpoena is otherwise unreasonable or oppressive.                                 burden or cost If that showing is made, the court may nonetheless order discovery
         e. The subpoena is procedurally defective.                                               from such sources if the requesting party shows good cause, after considering
                                                                                                  the limitations of Rule 26(b)(1a).The court may specify conditions for discovery,
(4) Order of court required to override objection. - If objection is made under
                                                                                                  including requiring the party that seeks discovery from a nonparty to bear the
    subdivision (3) of this subsection, the party serving the subpoena shall not be
                                                                                                  costs of locating, preserving, collecting, and producing the electronically stored
    entitled to compel the subpoenaed person's appearance at a deposition or to
                                                                                                  information involved.
    inspect and copy materials to which an objection has been made except pursuant
    to an order of the court. If objection is made, the party serving the subpoena may,       (5) Specificity of objection. - When information subject to a subpoena is withheld on
    upon notice to the subpoenaed person, move at any time for an or"der to compel                the objection that it is subject to protection as trial preparation materials, or that
    the subpoenaed person's appearance at the deposition or the production of the                 it is otherwise privileged, the objection shall be made with specificity and shall be
    materials designated in the subpoena. The motion shall be filed in the court in the           supported by a description of the nature of the communications, records, books,
    county in which the deposition or production of materials Is to occur.                        papers, documents, electronically stored information, or other tangible things not
                                                                                                  produced, sufficient for the requesting party to contest the objection.
(5) Motion to quash or moditv subpoena. -A person commanded to appear at a
    trial, hearing, deposition, or to produce and permit the inspection and copying of
    records, books, papers, documents, electronically stored information, or other
    tangible things, within 10 days after service of the subpoena or before the time
    specified for compliance if the time is less than 10 days after service, may file
    a motion to quash or modify the subpoena. The court shall quash or modify the
    subpoena if the subpoenaed person demonstrates the existence of any of the
    reasons set forth in subdivision (3) of this subsection. The motion shall be filed
    in the court in the county in which the trial, hearing, deposition, or production of
    materials is to occur.


                                                                   INFORMATION FOR WITNESS
NOTE: If you have any questions about being subpoenaed as a witness, you should contact the person named on Page One of this Subpoena in the box labeled UName And
Address Of Applicant Or Applicanfs Attorney."
DUTIES OF A WITNESS                                                                           BRIBING OR THREATENING A WITNESS
• Unless otherwise directed by the presiding judge, you must answer all questions             It is a violation of State law for anyone to attempt to bribe, threaten, harass, or
  asked when you are on the stand giving testimony                                            intimidate a witness. If anyone attempts to do any of these things concerning your
•    In answering questions, speak clearly and loudly enough   to be heard.                   involvement as a witness in a case, you should promptly report that to the district
                                                                                              attorney or the presiding judge.
•    Your answers to questions must be truthful.
                                                                                              WITNESS FEE
•    If you are commanded to produce any items, you must bring them with you to court         A witness under subpoena and that appears in court to testify, is entitled to a small
     or to the deposition.                                                                    daily fee, and to travel expense reimbursement, if It is necessary to travel outside the
•    You must continue to attend court until released by the court You must continue to       county in order to testify. (The fee for an "expert witnessn will be set by the presiding
     attend a deposition until the deposition is completed.                                   judge.) After you have been dlscharged as a witness, if you desire to collect the
                                                                                              statutory fee, you should immediately contact the Clerk's office and certify your
                                                                                              attendance as a witness so that you will be paid any amount due you.
    AOC-G-100, Side Two, Rev. 2/18
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                                                 EXHIBIT A

        Pursuant to the subpoena duces tecum to which this "EXHIBIT A" is attached, Apex Companies,
LLC is hereby commanded to produce copies of the following or the following originals for copying and
inspection:

   1.    Your complete project file related to the Lexington Booster Station Property, located at 667
         Helmstetler Road in Lexington, North Carolina, including but not limited to: any and all
         documents and/or tangible evidence in your possession relating to your work and investigation
         of the surrounding residential properties; correspondence; telephone calls; field notes
         (handwritten or typed); emails; ledgers; photographs in their native format; sampling
         information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
         back-up documentation; standards; articles; code material relied upon; and time and billing
         records.

   2.    Your complete file on all testing, investigation, sampling, and property assessments
         regarding any and all releases at or surrounding the Lexington Booster Station, including but
         not limited to any and all documents and/or tangible evidence in your possession regarding
         any and all releases since 1980.

   3.    Your complete file, notes, testing, documents, and records of any kind relating to any and all
         releases at or within five (5) miles of the Lexington Booster Station at any time since its
         inception.

   4.    Your complete project file related to the Jackie and Judy Braswell Property, located at 517
         Helmstetler Road, Lexington, North Carolina 27295, which is adjacent to the Lexington Booster
         Station Property described above, including but not limited to: any and all documents and/or
         tangible evidence in your possession relating to your work and investigation of the Jackie and
         Judy Braswell Property; correspondence; telephone calls; field notes (handwritten or typed);
         emails; ledgers; photographs in their native format; sampling information; test results; sketches;
         drawings; data; recordings; inspection reports; quotes; bids; back-up documentation; standards;
         articles; code material relied upon; and time and billing records.

   5.    Your complete project file related to the Bonnie and Harold Collins Property, located at 401
         Helmstetler Road, Lexington, North Carolina 27295, including but not limited to: any and all
         documents and/or tangible evidence in your possession relating to your work and investigation
         of the Bonnie and Harold Collins Property; correspondence; telephone calls; field notes
         (handwritten or typed); emails; ledgers; photographs in their native format; sampling
         information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
         back-up documentation; standards; articles; code material relied upon; and time and billing
         records.

   6.    Your complete project file related to the Penny and Haymon Hicks Property, located at 206
         Yarborough Drive, Lexington, North Carolina 27295, including but not limited to: any and all
         documents and/or tangible evidence in your possession relating to your work and investigation
         of the Penny and Haymon Hicks Property; correspondence; telephone calls; field notes
         (handwritten or typed); emails; ledgers; photographs in their native format; sampling




        Case 1:18-cv-00580-NCT-JLW Document 1-2 Filed 06/29/18 Page 44 of 59
      information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
      back-up documentation; standards; articles; code material relied upon; and time and billing
      records.

7.    Your complete project file related to the James and Pamela Loveless, located at 286 Matthew
      Drive, Lexington, North Carolina 27295, including but not limited to: any and all documents
      and/or tangible evidence in your possession relating to your work and investigation of the James
      and Pamela Loveless Property; correspondence; telephone calls; field notes (handwritten or
      typed); emails; ledgers; photographs in their native format; sampling information; test results;
      sketches; drawings; data; recordings; inspection reports; quotes; bids; back-up documentation;
      standards; articles; code material relied upon; and time and billing records.

8.    Your complete project file related to the Jeffrey and Kathy Miller Property, located at 398
      Matthew Drive, Lexington, North Carolina 27295, including but not limited to: any and all
      documents and/or tangible evidence in your possession relating to your work and investigation
      of the Jeffrey and Kathy Miller Property; correspondence; telephone calls; field notes
      (handwritten or typed); emails; ledgers; photographs in their native format; sampling
      information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
      back-up documentation; standards; articles; code material relied upon; and time and billing
      records.

9.    Your complete project file related to the Gina Myers Shaw Property, which is across the street
      from the Lexington Booster Station described above, and is recorded with the Davidson County
      Register of Deeds at Book 02023, Page 1697, in Lexington, North Carolina, including but not
      limited to: any and all documents and/or tangible evidence in your possession relating to your
      work and investigation of the Gina Myers Shaw Property; correspondence; telephone calls; field
      notes (handwritten or typed); emails; ledgers; photographs in their native format; sampling
      information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
      back-up documentation; standards; articles; code material relied upon; and time and billing
      records.

10. Your complete project file related to the James and Debbie Slone Property, located at 247
    Yarborough Drive, Lexington, North Carolina 27295, including but not limited to: any and all
    documents and/or tangible evidence in your possession relating to your work and investigation
    of the James and Debbie Slone Property; correspondence; telephone calls; field notes
    (handwritten or typed); emails; ledgers; photographs in their native format; sampling
    information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
    back-up documentation; standards; articles; code material relied upon; and time and billing
    records.

11. Your complete project file related to the Joey and Shaina Smith Property, located at 676
    Helmstetler Road, Lexington, North Carolina 27295, including but not limited to: any and all
    documents and/or tangible evidence in your possession relating to your work and investigation
    of the Joey and Shaina Smith Property; correspondence; telephone calls; field notes
    (handwritten or typed); emails; ledgers; photographs in their native format; sampling
    information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
    back-up documentation; standards; articles; code material relied upon; and time and billing
    records.




     Case 1:18-cv-00580-NCT-JLW Document 1-2 Filed 06/29/18 Page 45 of 59
12. Your complete project file related to the Jerry and Karen Smith Property, located at 321
    Matthew Drive, Lexington, North Carolina 27295, including but not limited to: any and all
    documents and/or tangible evidence in your possession relating to your work and investigation
    of the Jerry and Karen Smith Property; correspondence; telephone calls; field notes
    (handwritten or typed); emails; ledgers; photographs in their native format; sampling
    information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
    back-up documentation; standards; articles; code material relied upon; and time and billing
    records.
13. Your complete project file related to the 551 Helmstetler Road Property, located at 551
    Helmstetler Road, Lexington, North Carolina 27295, including but not limited to: any and all
    documents and/or tangible evidence in your possession relating to your work and investigation
    of the 551 Helmstetler Road Property; correspondence; telephone calls; field notes
    (handwritten or typed); emails; ledgers; photographs in their native format; sampling
    information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
    back-up documentation; standards; articles; code material relied upon; and time and billing
    records.

14. A complete copy of any and all bids, estimates, scopes of work, subcontracting agreements,
    consulting agreements, or service agreements, whether in draft or final form, detailing any
    aspect of your work.

15. A complete copy of any and all reports, including any and all revisions, changes, additions, and
    edits thereto, relating in any way to the properties identified in numbered paragraphs 2 through
    11 above.

16. A copy of all correspondence between you and any employee of Apex Companies, LLC regarding
    the properties identified in numbered paragraphs 1 through 11 above.

17. A copy of all correspondence between you and any attorney, staff member, employee or agent
    of NC DEQ regarding the properties identified in numbered paragraphs 1 through 11 above.

18. A copy of all correspondence between you and any attorney, staff member, employee or agent
    of any insurance company, agent or adjuster regarding the properties identified in numbered
    paragraphs 1through11 above.

19. A copy of all correspondence between you and any attorney, staff member, employee or agent
    of any and all laboratories regarding the properties identified in numbered paragraphs 1
    through 11 above.

20. ·A copy of all correspondence between you and any attorney, staff member, employee or agent
     of any and all State of North Carolina governmental, regulator, or administrative entity
     regarding the properties identified in numbered paragraphs 1through11 above.

21. A complete copy of your fee structure in relation to any and all work performed in connection
    with the properties identified in numbered paragraphs 1through11 above.




  Case 1:18-cv-00580-NCT-JLW Document 1-2 Filed 06/29/18 Page 46 of 59
    22. A complete copy of all invoices you have submitted for payment in relation to any and all work
        performed in connection with the properties identified in numbered paragraphs 1 through 11
        above.

    23. A complete copy of all proof of payment made in satisfaction of the invoices identified in No. 17
        in relation to any and all work performed in connection with the properties identified in
        numbered paragraphs 1 through 11 above.

    24. A complete copy of all reports, information, records related to releases that have occurred at
        the Lexington Booster Station Property described above, including but not limited to above and
        below ground releases, reported and known but unreported releases, and releases on or along
        the property, and all releases related to the properties identified in numbered paragraphs 2
        through 11 above.

        If, rather than producing the documents physically, you would prefer to electronically transfer
the files, you may send them via a secure document link or via electronic mail to
kmessersmith@wallacegraham.com, or via an electronic storage medium such as a flash drive or thumb
drive.




      Case 1:18-cv-00580-NCT-JLW Document 1-2 Filed 06/29/18 Page 47 of 59
                                                                                                             Fife No.
    STATE OF NORTH CAROLINA                                                                                                       18 CVS 5537

                                                                                                                    In The General Court Of Justice
    _ _ _ _ _G_u_i_lfi_or_d_ _ _ _ _                County                                                    D District    ~Superior Court Division

                                                                                   Additional File Numbers
Jackie Braswell, et al.


                                    VERSUS
Colonial Pipeline Company and Apex Companies, LLC                                                                   SUBPOENA
                                                                                                                   G.S. 1A-1, Rule 45; 8-59, -61, -63; 1SA-801, -802
Party Requesting Subpoena              NOTE TO PARTIES NOT REPRESENTED BY COUNSEL: Subpoenas may be produced                           at your request, but must be
 [81 State/Plaintiff   D Defendant     signed and issued by the office of the Clerk of Superior Court, or by a magistrate or judge.
TO     Name And Address Of Person Subpoenaed                                       Alternate Address
       Colonial Pipeline Company
       c/o Corporation Service Company
       2626 Glenwood A venue, Suite 550
       Raleigh                                               NC       27608
       Telephone No.                                                               Telephone No.


 YOU ARE COMMANDED TO: (check all that apply)
 D appear and testify, in the above entitled action, before the court at the place, date and time indicated below.
 D appear and testify, in the above entitled action, at a deposition at the place, date and time indicated below.
 ~ produce and penmit inspection and copying of the following items, at the place, date and time indicated below.
       ~See attached list (List here ii space sufficient)
          See attached Exhibit A




Name And Location Of Court/Place Of Deposition/Place To Produce                    Date To Appear/Produce, Until Released
Kayleigh L. Messersmith                                                                              6/29/2018
Wall ace & Graham, P .A                                                            Time To Appear/Produce, Until Released
                                                                                                                                                    ~AM      0PM
525 N. Main Street                                                                                                10:00
Salisbury                                                    NC       28144
Name And Address Of Applicant Or Applicanfs Attorney
Kayliegh L. Messersmith
Wallace & Graham, P.A.
525 N. Main Street                                                                    OoeputyCSC                D Assistant CSC         D Clerk Of Superior Court
Salish                                                       NC       28144
                                                                                      D Magistrate              ~Attorney/DA            D District Court Judge
Telephone No. Of Applicant Or Applicanfs Attorney
                                 704-633-5244                                                                                           D Superior Court Judge
                                                                  RETURN OF SERVICE
    I certify this subpoena was received and served on the person subpoenaed as follows:
    By      D personal delivery.                    D registered or certified mail, receipt requested and attached.
            D telephone communication by Sheriff (use only for a witness subpoenaed to appear and testify).
            D telephone communication by local law enforcement agency (use only for a witness subpoenaed to appear and testify in a criminal case).
               NOTE TO COURT: If the witness was served by telephone communication from a local law enforcement agency in a criminal case, the
             court may not issue   a show cause order or order for arrest against the witness until the witness has been served personally with the written
             subpoena.
          D I was unable to serve this subpoena. Reason unable to serve:
SeNice Fae     D Paid Date Served        Name Of Authorized Server (type or print)            Signature Of Authorized Server                 Title/Agency
$               Ooue
 NOTE TO PERSON REQUESTING SUBPOENA: A copy of this subpoena must be delivered, mailed or faxed to the attorney for each party in this case.
 If a party is not represented by an attorney, the copy must be mailed or delivered to the patty. This does not apply in criminal cases.
    AOC-G-100, Rev. 2/18                                              (Please see reverse side)
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NOTE: Rule 45, North Carolina Rules of Civil Procedure, Subsections (c) and (d).
(c) Protection of Persons Subject to Subpoena
(1) Avoid undue burden or exoense. -A party or an attorney responsible for the                  (6) Order to comoel· expenses to comply with subpoena. - V\/hen a court enters an
    issuance and service of a subpoena shall take reasonable steps to avoid imposing                order compelling a deposition or the production of records, books, papers,
    an undue burden or expense on a person subject to the subpoena. The court shall                 documents, electronically stored information, or other tangible things, the order
    enforce this subdivision and impose upon the party or attorney in violation of this             shall protect any person who is not a party or an agent of a party from significant
    requirement an appropriate sanction that may include compensating the person                    expense resulting from complying with the subpoena. The court may order that the
    unduly burdened for lost earnings and for reasonable attorney's fees.                           person to whom the subpoena is addressed will be reasonably compensated for
                                                                                                    the cost of producing the records, books, papers, documents, electronically stored
(2) For production of public records or hospital medical records. - Vllliere the subpoena           information, or tangible things specified in the subpoena.
    commands any custodian of public records or any custodian of hospital medical
    records, as defined in G.S. 8-44.1, to appear for the sole purpose of producing             (7) Trade secrets· confidential information. - When a subpoena requires disclosure of a
    certain records in the custodian's custody, the custodian subpoenaed may, in                    trade secret or other confidential research, development, or commercial information,
    lieu of personal appearance, tender to the court in which the action is pending by              a court may, to protect a person subject to or affected by the subpoena, quash or
    registered or certified mail or by personal delivery, on or before the time specified           modify the subpoena, or when the party on whose behalf the subpoena is issued
    in the subpoena, certified copies of the records requested together with a copy of              shows a substantial need forthe testimony or material that cannot otherwise be met
    the subpoena and an affidavit by the custodian testifying that the copies are true              without undue hardship, the court may order a person to make an appearance or
    and correct copies and that the records were made and kept in the regular course                produce the materials only on specified conditions stated in the order.
    of business, or if no such records are in the custodian's custody, an affidavit to that
    effect. When the copies of records are personally delivered under this subdivision,         (8) Order to miash· expenses. - Vlllien a court enters an order quashing or modifying
    a receipt shall be obtained from the person receiving the records. Any original or              the subpoena, the court may order the party on whose behalf the subpoena is
    certified copy of records or an affidavit delivered according to the provisions of this         issued to pay all or part of the subpoenaed person's reasonable expenses
    subdivision, unless otherwise objectionable, shall be admissible in any action or               including attorney's fees.
    proceeding without further certification or authentication. Copies of hospital medical
    records tendered under this subdivision shall not be open to inspection or copied by        (d) Duties in Responding to Subpoena
    any person, except to the parties to the case or proceedings and their attorneys in
    depositions, until ordered published by the judge at the lime of the hearing or trial.      (1) Form of response. -A person responding to a subpoena to produce records,
    Nothing contained herein shall be construed to waive the physician-patient privilege           books, documents, electronically stored information, or tangible things shall
    or to require any privileged communication under law lo be disclosed.                          produce them as they are kept in the usual course of business or shall organize
                                                                                                   and label them to correspond with the categories in the request.
(3) Written objection to subooenas. - Subject to subsection (d) of this rule, a person
    commanded to appear at a deposition or to produce and permit the inspection and             (2) Form of producing electronically stored information not specified. - If a subpoena
    copying of records, books, papers, documents, electronically stored information,                does not specify a form for producing electronically stored information, the person
    or tangible things may, within 10 days after service of the subpoena or before the              responding must produce it in a form or forms in which it ordinarily is maintained or
    time specified for compliance if the time is less than 1O days after service, serve             in a reasonably useable form or forms.
    upon the party or the attorney designated in the subpoena written objection to the
                                                                                                (3) Electronically stored information in only one form. - The person responding need
    subpoena, setting forth the specific grounds for the objection. The written objection
                                                                                                    not produce the same electronically stored information in more than one form.
    shall comply with the requirements of Rule 11. Each of the following grounds may
    be sufficient for objecting to a subpoena:                                                  (4) Inaccessible electronically stored information. - The person responding need
         a. The subpoena fails to allow reasonable time for compliance.                             not provide discovery of electronically stored information from sources that the
         b. The subpoena requires disclosure of privileged or other protected matter                person identifies as not reasonably accessible because of undue burden or cost.
            and no exception or waiver applies to the privilege or protection.                      On motion to compel discovery or for a protective order, the person responding
         c. The subpoena subjects a person to an undue burden or expense.                           must show that the information is not reasonably accessible because of undue
         d. The subpoena is otherwise unreasonable or oppressive.                                   burden or cost. If that showing is made, the court may nonetheless order discovery
         e. The subpoena is procedurally defective.                                                 from such sources if the requesting party shows good cause, after considering
                                                                                                    the limitations of Rule 26(b)(1a).The court may specify conditions for discovery,
(4) Order of cgurt required to override objection. - If objection is made under
                                                                                                    including requiring the party that seeks discovery from a non party to bear the
    subdivision (3) of this subsection, the party serving the subpoena shall not be
                                                                                                    costs of locating, preserving, collecting, and producing the electronically stored
    entitled to compel the subpoenaed person's appearance at a deposition or lo
                                                                                                    information involved.
    inspect and copy materials to which an objection has been made except pursuant
    to an order of the court. If objection is made, the party serving the subpoena may,         (5) Specificity of objection. - Vlllien information subject to a subpoena is withheld on
    upon notice to the subpoenaed person, move at any time for an order to compel                   the objection that it is subject to protection as trial preparation materials, or that
    the subpoenaed person's appearance at the deposition or the production of the                   it is otherwise privileged, the objection shall be made with specificity and shall be
    materials designated in the subpoena. The motion shall be filed in the court in the             supported by a description of the nature of the communications, records, books,
    county in which the deposition or production of materials is to occur.                          papers, documents, electronically stored information, or other tangible things not
                                                                                                    produced, sufficient for the requesting party lo contest the objection.
(5) Motion to quash or modifv subpoena. -A person commanded to appear at a
      trial, hearing, deposition, or to produce and permit the inspection and copying of
      records, books, papers, documents, electronically stored information, or other
      tangible things, within 10 days after service of the subpoena or before the lime
      specified for compliance if the time is less than 1 O days after service, may file
      a motion to quash or modify the subpoena. The court shall quash or modify the
      subpoena if the subpoenaed person demonstrates the existence of any of the
      reasons set forth in subdivision (3) of this subsection. The motion shall be filed
      in the court in the county in which the trial, hearing, deposition, or production of
      materials is to occur.


                                                                      INFORMATION FOR WITNESS
NOTE: ff you have any questions about being subpoenaed as a witness, you should contact the person named on Page One of this Subpoena in the box labeled "Name And
Address Of Applicant Or Applicant's Attorney."
DUTIES OF A WITNESS                                                                             BRIBING OR THREATENING A WITNESS
• Unless otherwise directed by the presiding judge, you must answer all questions               It is a violation of State law for anyone to attempt to bribe, threaten, harass, or
  asked when you are on the stand g·1v·mg testimony.                                            infimidate a witness. If anyone attempts to do any of these things concerning your
                                                                                                involvement as a witness in a case, you should promptly report that to the district
•    In answering questions, speak clearly and loudly enough to be heard.
                                                                                                attorney or the presiding judge.
•    Your answers to questions must be truthful.
                                                                                                WITNESS FEE
•    If you are commanded to produce any items, you must bring them with you         to court   A witness under subpoena and that appears in court to testify, is entitled to a small
     or to the deposition.                                                                      daily fee, and to travel expense reimbursement, if it is necessary to travel outside the
•    You must continue to attend court until released by the court. You must continue to        county ln order to testify. (The fee for an "expert witness" will be set by the presiding
     attend a deposition until the deposition is completed.                                     judge.) After you have been discharged as a witness, if you desire to collect the
                                                                                                statutory fee, you should Immediately contact the Clerk's office and certify your
                                                                                                attendance as a witness so that you will be paid any amount due you.
    AOC-G-100, Side Two, Rev. 2/18
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                                               EXHIBIT A

         Pursuant to the subpoena duces tecum to which this "EXHIBIT A" is attached, Colonial
Pipeline Company is hereby commanded to produce copies of the following or the following
originals for copying and inspection:

   1. Your complete project file related to the Lexington Booster Station Property, located at 667
      Helmstetler Road in Lexington, North Carolina: any and all documents and/or tangible
      evidence in your possession relating to the surrounding residential properties; including but
      not limited to correspondence; telephone calls; field notes (handwritten or typed}; emails;
      ledgers; photographs in their native format; sampling information; test results; sketches;
      drawings; data; recordings; inspection reports; quotes; bids; back-up documentation;
      standards; articles; code material relied upon; and time and billing records.

   2.    Your complete file on all testing, investigation, sampling, and property assessments
         regarding any and all releases at or surrounding the Lexington Booster Station, including but
         not limited to any and all documents and/or tangible evidence in your possession regarding
         any and all releases since 1980.

   3.    Your complete file, notes, testing, documents, and records of any kind relating to any and all
         releases at or within five (5) miles of the Lexington Booster Station at any time since its
         inception.

   4. All files, notes, testing, documents, and records of any kind relating to any and all releases
      at within 5 miles of the Lexington Booster Station at any time since its inception.

   5. Your complete project file related to the Jackie and Judy Braswell Property, located at 517
      Helmstetler Road, Lexington, North Carolina 27295, which is adjacent to the Lexington
      Booster Station Property described above, including but not limited to: any and all
      documents and/or tangible evidence in your possession relating to your work and
      investigation of the Jackie and Judy Braswell Property; correspondence; telephone calls;
      field notes (handwritten or typed}; emails; ledgers; photographs in their native format;
      sampling information; test results; sketches; drawings; data; recordings; inspection reports;
      quotes; bids; back-up documentation; standards; articles; code material relied upon; and
      time and billing records.

   6.    Your complete project file related to the Bonnie and Harold Collins Property, located at 401
         Helmstetler Road, Lexington, North Carolina 27295, including but not limited to: any and all
         documents and/or tangible evidence in your possession relating to your work and
         investigation of the Bonnie and Harold Collins Property; correspondence; telephone calls;
         field notes (handwritten or typed}; emails; ledgers; photographs in their native format;
         sampling information; test results; sketches; drawings; data; recordings; inspection reports;
         quotes; bids; back-up documentation; standards; articles; code material relied upon; and
         time and billing records.




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7.    Your complete project file related to the Penny and Haymon Hicks Property, located at 206
      Yarborough Drive, Lexington, North Carolina 27295, including but not limited to: any and all
      documents and/or tangible evidence in your possession relating to your work and
      investigation of the Penny and Haymon Hicks Property; correspondence; telephone calls;
      field notes (handwritten or typed); emails; ledgers; photographs in their native format;
      sampling information; test results; sketches; drawings; data; recordings; inspection reports;
      quotes; bids; back-up documentation; standards; articles; code material relied upon; and
      time and billing records.

8.    Your complete project file related to the James and Pamela Loveless, located at 286
      Matthew Drive, Lexington, North Carolina 27295, including but not limited to: any and all
      documents and/or tangible evidence in your possession relating to your work and
      investigation of the James and Pamela Loveless Property; correspondence; telephone calls;
      field notes (handwritten or typed); emails; ledgers; photographs in their native format;
      sampling information; test results; sketches; drawings; data; recordings; inspection reports;
      quotes; bids; back-up documentation; standards; articles; code material relied upon; and
      time and billing records.

9. Your complete project file related to the Jeffrey and Kathy Miller Property, located at 398
   Matthew Drive, Lexington, North Carolina 27295, including but not limited to: any and all
   documents and/or tangible evidence in your possession relating to your work and
   investigation of the Jeffrey and Kathy Miller Property; correspondence; telephone calls; field
   notes (handwritten or typed); emails; ledgers; photographs in their native format; sampling
   information; test results; sketches; drawings; data; recordings; inspection reports; quotes;
   bids; back-up documentation; standards; articles; code material relied upon; and time and
   billing records.

10. Your complete project file related to the Gina Myers Shaw Property, which is across the
    street from the Lexington Booster Station described above, and is recorded with the
    Davidson County Register of Deeds at Book 02023, Page 1697, in Lexington, North Carolina,
    including but not limited to: any and all documents and/or tangible evidence in your
    possession relating to your work and investigation of the Gina Myers Shaw Property;
    correspondence; telephone calls; field notes (handwritten or typed); emails; ledgers;
    photographs in their native format; sampling information; test results; sketches; drawings;
    data; recordings; inspection reports; quotes; bids; back-up documentation; standards;
    articles; code material relied upon; and time and billing records.

11. Your complete project file related to the James and Debbie Slone Property, located at 247
    Yarborough Drive, Lexington, North Carolina 27295, including but not limited to: any and all
    documents and/or tangible evidence in your possession relating to your work and
    investigation of the James and Debbie Slone Property; correspondence; telephone calls;
    field notes (handwritten or typed); emails; ledgers; photographs in their native format;
    sampling information; test results; sketches; drawings; data; recordings; inspection reports;
    quotes; bids; back-up documentation; standards; articles; code material relied upon; and
    time and billing records.




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12. Your complete project file related to the Joey and Shaina Smith Property, located at 676
    Helmstetler Road, Lexington, North Carolina 27295, including but not limited to: any and all
    documents and/or tangible evidence in your possession relating to your work and
    investigation of the Joey and Shaina Smith Property; correspondence; telephone calls; field
    notes (handwritten or typed); emails; ledgers; photographs in their native format; sampling
    information; test results; sketches; drawings; data; recordings; inspection reports; quotes;
    bids; back-up documentation; standards; articles; code material relied upon; and time and
    billing records.

13. Your complete project file related to the Jerry and Karen Smith Property, located at 321
    Matthew Drive, Lexington, North Carolina 27295, including but not limited to: any and all
    documents and/or tangible evidence in your possession relating to your work and
    investigation of the Jerry and Karen Smith Property; correspondence; telephone calls; field
    notes (handwritten or typed); emails; ledgers; photographs in their native format; sampling
    information; test results; sketches; drawings; data; recordings; inspection reports; quotes;
    bids; back-up documentation; standards; articles; code material relied upon; and time and
    billing records.
14. Your complete project file related to the 551 Helmstetler Road Property, located at 551
    Helmstetler Road, Lexington, North Carolina 27295, including but not limited to: any and all
    documents and/or tangible evidence in your possession relating to your work and
    investigation of the 551 Helmstetler Road Property; correspondence; telephone calls; field
    notes (handwritten or typed); emails; ledgers; photographs in their native format; sampling
    information; test results; sketches; drawings; data; recordings; inspection reports; quotes;
    bids; back-up documentation; standards; articles; code material relied upon; and time and
    billing records.

15. A complete copy of any and all bids, estimates, scopes of work, subcontracting agreements,
    consulting agreements, or service agreements, whether in draft or final form, detailing any
    aspect of your work.

16. A complete copy of any and all reports, including any and all revisions, changes, additions,
    and edits thereto, relating in any way to the properties identified in numbered paragraphs 2
    through 11 above.

17. A copy of all correspondence between you and any employee of Apex Companies, LLC
    regarding the properties identified in numbered paragraphs 1 through 11 above.

18. A copy of all correspondence between you and any attorney, staff member, employee or
    agent of NC DEQ regarding the properties identified in numbered paragraphs 1 through 11
    above.

19. A copy of all correspondence between you and any attorney, staff member, employee or
    agent of any insurance company, agent or adjuster regarding the properties identified in
    numbered paragraphs 1through11 above.




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   20. A copy of all correspondence between you and any attorney, staff member, employee or
       agent of any and all laboratories regarding the properties identified in numbered
       paragraphs 1 through 11 above.

   21. A copy of all correspondence between you and any attorney, staff member, employee or
       agent of any and all State of North Carolina governmental, regulator, or administrative
       entity regarding the properties identified in numbered paragraphs 1through11 above.

   22. A complete copy of your fee structure in relation to any and all work performed in
       connection with the properties identified in numbered paragraphs 1 through 11 above.

   23. A complete copy of all invoices you have submitted for payment in relation to any and all
       work performed in connection with the properties identified in numbered paragraphs 1
       through 11 above.

   24. A complete copy of all proof of payment made in satisfaction of the invoices identified in
       No. 17 in relation to any and all work performed in connection with the properties
       identified in numbered paragraphs 1 through 11 above.

   25. A complete copy of all reports, information, records related to releases that have occurred
       at the Lexington Booster Station Property described above, including but not limited to
       above and below ground releases, reported and known but unreported releases, and
       releases on or along the property, and all releases related to the properties identified in
       numbered paragraphs 2 through 11 above.

        If, rather than producing the documents physically, you would prefer to electronically
transfer the files, you may send them via a secure document link or via electronic mail to
kmessersmith@wallacegraham.com, or via an electronic storage medium such as a flash drive or
thumb drive.




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                                                                                                                     Fife No.
    STATE OF NORTH CAROLINA                                                                                                                18 CVS 5537

                                                                                                                             In The General Court Of Justice
    _ _ _ _ _G_m_._lfo_r_d_ _ _ _ _                   County                                                          D District     [Zl Superior Court Division
                                                                                          Additional File Numbers
Jackie Braswell, et al.


                                       VERSUS
Colonial Pipeline Company and Apex Companies, LLC                                                                            SUBPOENA
                                                                                                                            G.S. 1A-1, Rule 45; 8-59, -61, -63; 15A-801, -802
Party Requesting Subpoena                   NOTE TO PARTIES NOT REPRESENTED BY COUNSEL: Subpoenas may be produced at your request, but must be
    IB:J State!Ptainfiff     D Defendant    signed and issued by the office of the Clerk of Superior Court, or by a magistrate or judge.
        Name And Address Of Person Subpoenaed                                            Alternate Address
TO North Carolina Department of Environmental Quality
   450 West Hanes Mill Road, Suite 300


        Winston-Salem                                               NC       27105
        Telephone No.                                                                     Telephone No.
                                       336-776-9800
 YOU ARE COMMANDED TO: (check all that apply)
 D appear and testify, in the above entitled action, before the court at the place, date and time indicated below.
 0      appear and testify, in the above entitled action, at a deposition at the place, date and time indicated below.
 [Zl produce and permit inspection and copying of the following items, at the place, date and time indicated below.
        I&] See attached list.    (List here if space sufficient)
             See attached Exhibit A




Name And Location Of Court/Place Of Deposition/Place To Produce                          Date To Appear/Produce, Until Released
Kayleigh L. Messersmith                                                                                         6/29/2018
Wallace & Graham, P.A.                                                                    Time To Appear/Produce, Until Released
                                                                                                                                                             [ZIAM    0PM
525 N. Main Street                                                                                                          10:00
Salisbmy                                                            NC       28144        Date
Name And Address Of Applicant Or Applicant's Attorney
Kayliegh L. Messersmith                                                                   Signature
Wallace & Graham, P.A.
525 N. Main Street                                                                             OoeputyCSC               D Assistant CSC          D Clerk Of Superior Court
Salish                                                              NC       28144
Telephone No. Of Applicant Or Applicant's Attorney
                                                                                               0   Magistrate           I&] Attorney/DA          D District Court Judge
                                     704-633-5244                                                                                                D Superior Court Judge
                                                                         RETURN OF SERVICE
    I certify this subpoena was received and served on the person subpoenaed as follows:
    By     D personal delivery.                           D registered or certified mail, receipt requested and attached.
            D  telephone communication by Sheriff (use only for a witness subpoenaed to appear and testify).
            D  telephone communication by local law enforcement agency (use only for a witness subpoenaed to appear and testify in a criminal case).
               NOTE TO COURT: If the witness was seNed by telephone communication from a local law enforcement agency in a criminal case, the
                court may not issue a show cause order or order for arrest against the witness until the witness has been seNed personally with the written
                 subpoena.
            D I was unable to serve this subpoena. Reason unable to serve:
Service Fee         D Paid    Date Served          Name Of Authorized Server (type or print)           Signature Of Authorized Server                 Title/Agency
$                   Ooue
 NOTE TO PERSON REQUESTING SUBPOENA: A copy of this subpoena must be delivered, mailed or faxed to the attorney for each party in this case.
 If a party is not represented by an attorney, the copy must be mailed or delivered to the party. This does not apply in criminal cases.
     AOC-G-1 OD, Rev. 2/18                                                  (Please see reverse side)
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NOTE: Rule 45, North Carolina Rules of Civil Procedure, Subsections (c) and {d).
(c) Protection of Persons Subject to Subpoena
(1) Avoid undue burden or expense. -A party or an attorney responsible for the                (6) Order to compel· expenses to comply with subpoena. - VI/hen a court enters an
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    enforce this subdivision and impose upon the party or attorney in violation of this           shall protect any person who is not a party or an agent of a party from significant
    requirement an appropriate sanction that may include compensating the person                  expense resulting from complying with the subpoena. The court may order that the
    unduly burdened for lost earnings and for reasonable attorney's fees.                         person to whom the subpoena is addressed wiH be reasonably compensated for
                                                                                                  the cost of producing the records, books, papers, documents, electronically stored
(2) For production of public records or hospital medical records. - Where the subpoena            information, or tangible things specified in the subpoena.
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    lieu of personal appearance, tender to the court in which the action is pending by            a court may, to protect a person subject to or affected by the subpoena, quash or
    registered or certified mail or by personal delivery, on or before the time specified         modify the subpoena, orwhen the party on whose behalf the subpoena is issued
    in the subpoena, certified copies of the records requested together with a copy of            shows a substantial need for the testimony or material that cannot otherwise be met
    the subpoena and an affidavit by the custodian testifying that the copies are true            without undue hardship, the court may order a person to make an appearance or
    and correct copies and that the records were made and kept in the regular course              produce the materials only on specified conditions stated in the order.
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    subdivision, unless otherwise objectionable, shall be admissible in any action or             including attorney's fees.
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    depositions, until ordered published by the judge at the time of the hearing or trial.    (1) Form of response. -A person responding to a subpoena to produce records,
    Nothing contained herein shall be construed to waive the physician-patient privilege          books, documents, electronically stored infOrmation, or tangible things shall
    or to require any privileged communication under law lo be disclosed.                         produce them as they are kept in the usual course of business or shall organize
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(3) Written objection to subpoenas. - Subject to subsection (d) of this rule, a person
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    copying of records, books, papers, documents, electronically stored information,              does not specrfy a form for producing electronically stored information, the person
    or tangible things may, within 1O days after service of the subpoena or before the            responding must produce it in a form or forms in which ii ordinarily is maintained or
    time specified for compliance if the time is less than 1O days after service, serve           in a reasonably useable form or forms.
    upon the party or the attorney designated in the subpoena written objection to the
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                                                                                                  not produce the same electronically stored information in more than one form.
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         b. The subpoena requires disclosure of privileged or other protected matter              person identifies as not reasonably accessible because of undue burden or cost.
            and no exception or waiver applies to the privilege or protection.                    On motion to compel discovery or for a protective order, the person responding
         c. The subpoena subjects a person to an undue burden or expense.                         must show that the information is not reasonably accessible because of undue
         d. The subpoena is otherwise unreasonable or oppressive.                                 burden or cost. If that showing is made, the court may nonetheless order discovery
         e. The subpoena is procedurally defective.                                               from such sources if the requesting party shows good cause, after considering
                                                                                                  the limitations of Rule 26(b)(1a).The court may specify conditions for discovery,
(4) Order of court required to override objection. - If objection is made under
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    subdivision (3) of this subsection, the party serving the subpoena shall not be
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    to an order of the court. If objection is made, the party serving the subpoena may,       (5) Specificity of objection. - When information subject to a subpoena is withheld on
    upon notice to the subpoenaed person, move at any time for an order to compel                 the objection that it is subject to protection as trial preparation materials, or that
    the subpoenaed person's appearance at the deposition or the production of the                 it is otherwise privileged, the objection shall be made with specificity and shall be
    materials designated in the subpoena. The motion shall be filed in the court in the           supported by a description of the nature of the communications, records, books,
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    in the court in the county in which the trial, hearing, deposition, or production of
    materials is to occur.


                                                                   INFORMATION FOR WITNESS
NOTE: ff you have any questions about being subpoenaed as a witness, you should contact the person named on Page One of this Subpoena in the box labeled ~Name And
Address Of Applicant Or Applicant's Attorney."
DUTIES OF A WITNESS                                                                           BRIBING OR THREATENING A WITNESS
• Unless otherwise directed by the presiding judge, you must answer all questions             It is a violation of State law for anyone to attempt to bribe, threaten, harass, or
  asked when you are on the stand giving testimony.                                           intimidate a witness. If anyone attempts to do any of these things concerning your
•    In answering questions, speak clearly and loudly enough to be heard.                     involvement as a witness in a case, you should promptly report that to the district
                                                                                              attorney or the presiding judge.
•    Your answers to questions must be truthful.
                                                                                              WITNESS FEE
•    If you are commanded to produce any items, you must bring them with you to court         A witness under subpoena and that appears in court to testify, is entitled to a small
     or to the deposition.                                                                    daily fee, and to travel expense reimbursement, if it is necessary to travel outside the
•    You must continue to attend court until released by the court. You must continue to      county in order to testify. (The fee for an "expert witness" will be set by the presiding
     attend a deposition until the deposition is completed.                                   judge.) After you have been discharged as a witness, if you desire to collect the
                                                                                              statutory fee, you should immediately contact the Clerk's office and certify your
                                                                                              attendance as a witness so that you will be paid any amount due you.
    AOC-G-100, Side Two, Rev. 2/18
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                                                 EXHIBIT A

        Pursuant to the subpoena duces tecum to which this "EXHIBIT A" is attached, North Carolina
Department of Environmental Quality is hereby commanded to produce copies of the following or the
following originals for copying and inspection:

   1. Your complete project file related to the Lexington Booster Station Property, located at 667
      Helmstetler Road in Lexington, North Carolina, including but not limited to: any and all
      documents and/or tangible evidence in your possession relating to your work and investigation
      of the surrounding residential properties; correspondence; telephone calls; field notes
      (handwritten or typed); emails; ledgers; photographs in their native format; sampling
      information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
      back-up documentation; standards; articles; code material relied upon; and time and billing
      records.

   2.    Your complete project file related to the Jackie and Judy Braswell Property, located at 517
         Helmstetler Road, Lexington, North Carolina 27295, which is adjacent to the Lexington Booster
         Station Property described above, including but not limited to: any and all documents and/or
         tangible evidence in your possession relating to your work and investigation of the Jackie and
         Judy Braswell Property; correspondence; telephone calls; field notes (handwritten or typed);
         emails; ledgers; photographs in their native format; sampling information; test results; sketches;
         drawings; data; recordings; inspection reports; quotes; bids; back-up documentation; standards;
         articles; code material relied upon; and time and billing records.

   3.    Your complete project file related to the Bonnie and Harold Collins Property, located at 401
         Helmstetler Road, Lexington, North Carolina 27295, including but not limited to: any and all
         documents and/or tangible evidence in your possession relating to your work and investigation
         of the Bonnie and Harold Collins Property; correspondence; telephone calls; field notes
         (handwritten or typed); emails; ledgers; photographs in their native format; sampling
         information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
         back-up documentation; standards; articles; code material relied upon; and time and billing
         records.

   4.    Your complete project file related to the Penny and Haymon Hicks Property, located at 206
         Yarborough Drive, Lexington, North Carolina 27295, including but not limited to: any and all
         documents and/or tangible evidence in your possession relating to your work and investigation
         of the Penny and Haymon Hicks Property; correspondence; telephone calls; field notes
         (handwritten or typed); emails; ledgers; photographs in their native format; sampling
         information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
         back-up documentation; standards; articles; code material relied upon; and time and billing
         records.

   5.    Your complete project file related to the James and Pamela Loveless, located at 286 Matthew
         Drive, Lexington, North Carolina 27295, including but not limited to: any and all documents
         and/or tangible evidence in your possession relating to your work and investigation of the James
         and Pamela Loveless Property; correspondence; telephone calls; field notes (handwritten or
         typed); emails; ledgers; photographs in their native format; sampling information; test results;




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      sketches; drawings; data; recordings; inspection reports; quotes; bids; back-up documentation;
      standards; articles; code material relied upon; and time and billing records.

6.    Your complete project file related to the Jeffrey and Kathy Miller Property, located at 398
      Matthew Drive, Lexington, North Carolina 27295, including but not limited to: any and all
      documents and/or tangible evidence in your possession relating to your work and investigation
      of the Jeffrey and Kathy Miller Property; correspondence; telephone calls; field notes
      (handwritten or typed); emails; ledgers; photographs in their native format; sampling
      information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
      back-up documentation; standards; articles; code material relied upon; and time and billing
      records.

7.    Your complete project file related to the Gina Myers Shaw Property, which is across the street
      from the Lexington Booster Station described above, and is recorded with the Davidson County
      Register of Deeds at Book 02023, Page 1697, in Lexington, North Carolina, including but not
      limited to: any and all documents and/or tangible evidence in your possession relating to your
      work and investigation of the Gina Myers Shaw Property; correspondence; telephone calls; field
      notes (handwritten or typed); emails; ledgers; photographs in their native format; sampling
      information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
      back-up documentation; standards; articles; code material relied upon; and time and billing
      records.

8.    Your complete project file related to the James and Debbie Slone Property, located at 247
      Yarborough Drive, Lexington, North Carolina 27295, including but not limited to: any and all
      documents and/or tangible evidence in your possession relating to your work and investigation
      of the James and Debbie Slone Property; correspondence; telephone calls; field notes
      (handwritten or typed); emails; ledgers; photographs in their native format; sampling
      information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
      back-up documentation; standards; articles; code material relied upon; and time and billing
      records.

9.    Your complete project file related to the Joey and Shaina Smith Property, located at 676
      Helmstetler Road, Lexington, North Carolina 27295, including but not limited to: any and all
      documents and/or tangible evidence in your possession relating to your work and investigation
      of the Joey and Shaina Smith Property; correspondence; telephone calls; field notes
      (handwritten or typed); emails; ledgers; photographs in their native format; sampling
      information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
      back-up documentation; standards; articles; code material relied upon; and time and billing
      records.

10. Your complete project file related to the Jerry and Karen Smith Property, located at 321
    Matthew Drive, Lexington, North Carolina 27295, including but not limited to: any and all
    documents and/or tangible evidence in your possession relating to your work and investigation
    of the Jerry and Karen Smith Property; correspondence; telephone calls; field notes
    (handwritten or typed); emails; ledgers; photographs in their native format; sampling
    information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
    back-up documentation; standards; articles; code material relied upon; and time and billing
    records.




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11. Your complete project file related to the 551 Helmstetler Road Property, located at 551
    Helmstetler Road, Lexington, North Carolina 27295, including but not limited to: any and all
    documents and/or tangible evidence in your possession relating to your work and investigation
    of the 551 Helmstetler Road Property; correspondence; telephone calls; field notes
    (handwritten or typed); emails; ledgers; photographs in their native format; sampling
    information; test results; sketches; drawings; data; recordings; inspection reports; quotes; bids;
    back-up documentation; standards; articles; code material relied upon; and time and billing
    records.

12. A complete copy of any and all bids, estimates, scopes of work, subcontracting agreements,
    consulting agreements, or service agreements, whether in draft or final form, detailing any
    aspect of your work.

13. A complete copy of any and all reports, including any and all revisions, changes, additions, and
    edits thereto, relating in any way to the properties identified in numbered paragraphs 2 through
    11 above.

14. A copy of all correspondence between you and any employee of Apex Companies, LLC regarding
    the properties identified in numbered paragraphs 1through11 above.

15. A copy of all correspondence between you and any attorney, staff member, employee or agent
    of NC DEQ regarding the properties identified in numbered paragraphs 1 through 11 above.

16. A copy of all correspondence between you and any attorney, staff member, employee or agent
    of any insurance company, agent or adjuster regarding the properties identified in numbered
    paragraphs 1through11 above.

17. A copy of all correspondence between you and any attorney, staff member, employee or agent
    of any and all laboratories regarding the properties identified in numbered paragraphs 1
    through 11 above.

18. A copy of all correspondence between you and any attorney, staff member, employee or agent
    of any and all State of North Carolina governmental, regulator, or administrative entity
    regarding the properties identified in numbered paragraphs 1through11 above.

19. A complete copy of your fee structure in relation to any and all work performed in connection
    with the properties ·identified in numbered paragraphs 1through11 above.

20. A complete copy of all invoices you have submitted for payment in relation to any and all work
    performed in connection with the properties identified in numbered paragraphs 1 through 11
    above.

21. A complete copy of all proof of payment made in satisfaction of the invoices identified in No. 17
    in relation to any and all work performed in connection with the properties identified in
    numbered paragraphs 1 through 11 above.

22. A complete copy of all reports, information, records related to releases that have occurred at
    the Lexington Booster Station Property described above, including but not limited to above and




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        below ground releases, reported and known but unreported releases, and releases on or along
        the property, and all releases related to the properties identified in numbered paragraphs 2
        through 11 above.

        If, rather than producing the documents physically, you would prefer to electronically transfer
the files, you may send them via a secure document link or via electronic mail to
kmessersmith@wallacegraham.com, or via an electronic storage medium such as a flash drive or thumb
drive.




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